          Case 23-301, Document 54, 06/07/2023, 3526377, Page1 of 87




                   23-301
            United States Court of Appeals
                                     for the

                              Second Circuit
QI MI,
                 Plaintiff - Appellant,
SIDNEY SANDOZ,
                 Plaintiff,
v.
WATERDROP INC., PENG SHEN, KANGPING SHI, NINA ZHOU, KAI HUANG, GUANG
YANG, COLLEN A. DE VRIES, COGENCY GLOBAL INC., GOLDMAN SACHS (ASIA)
L.L.C., MORGAN STANLEY & CO. LLC, BOFA SECURITIES, INC., CHINA MERCHANTS
SECURRITIES (HK) CO., LIMITED, CLSA LIMITED, HAITONG INTERNATIONAL
SECURITIES COMPANY LIMITED, YAO HU, HAIYANG YU,
                 Defendants - Appellees.


            ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF NEW YORK
                    BRIEF AND SPECIAL APPENDIX
                     FOR PLAINTIFF-APPELLANT

 KIM E. MILLER                            CRAIG J. GERACI, JR.
 KAHN SWICK & FOTI, LLC                   KAHN SWICK & FOTI, LLC
 250 Park Avenue, 7th Floor               1100 Poydras Street, Suite 960
 New York, New York 10177                 New Orleans, Louisiana 70163

                        Counsel for Plaintiff - Appellant
           Case 23-301, Document 54, 06/07/2023, 3526377, Page2 of 87




                 CORPORATE DISCLOSURE STATEMENT

      Plaintiff-Appellant Qi Mi is an individual, and Rule 26.1 of the Federal Rules

of Appellate Procedure is thus inapplicable to him.
                Case 23-301, Document 54, 06/07/2023, 3526377, Page3 of 87




                                        TABLE OF CONTENTS
                                                                                                               Page
JURISDICTIONAL STATEMENT .......................................................................... 1
ISSUES PRESENTED FOR REVIEW ..................................................................... 1
STATEMENT OF THE CASE.................................................................................. 2
  I.     Nature of the Case and Relevant Procedural History ......................................2
  II.    Factual Background .........................................................................................5
         A. Overview of Waterdrop’s Business ............................................................5
         B. The Cessation of the Mutual Aid Platform ................................................5
         C. Waterdrop’s Initial Public Offering ...........................................................7
         D. Waterdrop’s Q1:21 Financial Results ........................................................8
  III. The District Court’s Opinion .........................................................................10
SUMMARY OF THE ARGUMENT ...................................................................... 11
STANDARD OF REVIEW ..................................................................................... 15
ARGUMENT ........................................................................................................... 16
  I.     Section 11 Imposes a Minimal Pleading Burden on Plaintiff .......................16
         A. The District Court Erred in Finding a Company Never Has an
            Obligation to Disclose “Quarterly Financial Results Before They
            Have Been Finalized” ...............................................................................17
             1. The District Court’s Holding Contravened “Well-Settled” Law
                Regarding the Disclosure of Interim Financial Results ......................18
             2. Having Spoken About the Q1:21 Results, Waterdrop Assumed
                and Violated a Duty to Tell the Whole Truth .....................................20
         B. Waterdrop’s Omitted Q1:21 Financial Results Were Material ................24
             1. A Meaningful Financial Analysis Could Not Be Performed
                Without Waterdrop’s Omitted Q1:21 Costs and Expenses.................24
             2. The Evidentiary Allegations Support the Materiality of
                Waterdrop’s Omitted Q1:21 Financial Results ...................................25
         C. The Complaint Plausibly Alleges that Waterdrop’s Q1:21 Results
            Were “Finalized” ......................................................................................29


                                                          i
                Case 23-301, Document 54, 06/07/2023, 3526377, Page4 of 87




         D. The District Court Also Created a New, Erroneous Test for Whether
            Statements Are Material Based on “Promises” ........................................30
  II.    The District Court Erroneously Held That Waterdrop Adequately
         Warned Investors About the Omitted Q1:21 Results ....................................31
         A. The District Court Erroneously Applied Bespeaks Caution to
            Omissions of Present/Historical Fact .......................................................31
         B. Defendants’ Cautionary Language Was Not Meaningful Because
            It Was Generic and Misleading ................................................................33
  III. Defendants Failed to Disclose the True Reason for the Cessation of
       Mutual Aid .....................................................................................................38
  IV. The Complaint Adequately Alleges Claims Under Section 15 of the
      Securities Act .................................................................................................43
  V. The District Court Erred in Denying Plaintiff at Least One Opportunity
     to Amend the Complaint................................................................................43
CONCLUSION ........................................................................................................ 45




                                                           ii
                Case 23-301, Document 54, 06/07/2023, 3526377, Page5 of 87




                                    TABLE OF AUTHORITIES
Cases                                                                                                     Page(s)
Asay v. Pinduoduo Inc., No. 18-cv-7625,
 2020 U.S. Dist. LEXIS 56179 (S.D.N.Y. Mar. 30, 2020) ....................................30
Asay v. Pinduoduo Inc., No. 20-1423,
 2021 U.S. App. LEXIS 26176 (2d Cir. Aug. 31, 2021) .................... 12, 18, 23, 30
Basic Inc. v. Levinson,
 485 U.S. 224 (1988) ..............................................................................................46
Campbell v. Transgenomic, Inc.,
 916 F.3d 1121 (8th Cir. 2019) ..............................................................................25
Carpenters Pension Tr. Fund of St. Louis v. Barclays PLC,
 750 F.3d 227 (2d Cir. 2014) .................................................................................15
Christine Asia Co. v. Yun Ma,
 718 F. App’x 20 (2d Cir. 2017) ............................................................................27
DeMaria v. Andersen,
 318 F.3d 170 (2d Cir. 2003) ........................................................ 12, 13, 18, 19, 31
Ganino v. Citizens Utils. Co.,
 228 F.3d 154 (2d Cir. 2000 ...................................................................................25
Guozhang Wang v. Cloopen Grp. Holding Ltd., No. 21-cv-10610,
 2023 U.S. Dist. LEXIS 44788 (S.D.N.Y. Mar. 16, 2023) ...................................22
Herman & Maclean v. Huddleston,
 459 U.S. 375 (1983) ....................................................................................... 16, 17
In re Bemis Co. Sec. Litig.,
  512 F. Supp. 3d 518 (S.D.N.Y. 2021) ..................................................................36
In re Hi-Crush Partners L.P. Sec. Litig., No. 12-cv-8557,
  2013 U.S. Dist. LEXIS 171110 (S.D.N.Y. Dec. 2, 2013) ....................................22
In re Hudson Techs., Inc. Sec. Litig., No. 98-cv-1616,
  1999 U.S. Dist. LEXIS 15032 (S.D.N.Y. Sep. 26, 1999) ....................................25
In re Insys Therapeutics, Inc. Sec. Litig., No. 17-cv-1954,
  2018 U.S. Dist. LEXIS 100000 (S.D.N.Y. June 12, 2018) ..................................27




                                                         iii
                Case 23-301, Document 54, 06/07/2023, 3526377, Page6 of 87




In re Vivendi, S.A. Sec. Litig.,
  838 F.3d 223 (2d Cir. 2016) .............................................................. 11, 17, 21, 23
Iowa Pub. Employees’ Ret. Sys. v. MF Glob., Ltd.,
  620 F.3d 137 (2d Cir. 2010) .......................................................................... 32, 33
IWA Forest Indus. Pension Plan v. Textron Inc.,
  14 F.4th 141 (2d Cir. 2021) ..................................................................................35
Litwin v. Blackstone Grp., L.P.,
  634 F.3d 706 (2d Cir. 2011) ........................................................ 16, 17, 23, 28, 29
Loreley Fin. (Jersey) No. 3 Ltd. v. Wells Fargo Sec., LLC,
 797 F.3d 160 (2d Cir. 2015) .................................................................................44
Matrixx Initiatives, Inc. v. Siracusano,
 563 U.S. 27 (2011) ................................................................................................18
Mendell v. Greenberg,
 927 F.2d 667, 670 (2d Cir. 1990) .........................................................................45
Meyer v. Jinkosolar Holdings Co.,
 761 F.3d 245 (2d Cir. 2014) .............................................................. 20, 25, 33, 42
Moab Partners, L.P. v. Macquarie Infrastructure Corp., No. 21-2524,
 2022 U.S. App. LEXIS 35103 (2d Cir. Dec. 20, 2022)........................... 22, 23, 38
Moshell v. Sasol Ltd.,
 481 F. Supp. 3d 280 (S.D.N.Y. 2020) ..................................................................38
New Jersey Carpenters Health Fund v. Royal Bank of Scotland Grp., PLC,
 709 F.3d 109 (2d Cir. 2013) .................................................................................43
Noto v. 22nd Century Grp., Inc.,
 35 F.4th 95 (2d Cir. 2022) ........................................................... 11, 20, 23, 25, 39
P. Stolz Family P’ship L.P. v. Daum,
  355 F.3d 92 (2d Cir. 2004) ...................................................................................32
Plumber & Steamfitters Local 773 Pension Fund, Bos. Ret. Sys. v. Danske Bank,
  11 F.4th 90 (2d Cir. 2021) ....................................................................................22
Rombach v. Chang,
 355 F.3d 164 (2d Cir. 2004) .............................................................. 16, 33, 38, 41
Shimon v. Equifax Info. Servs. LLC,
  994 F.3d 88 (2d Cir. 2021) ...................................................................................15

                                                         iv
                 Case 23-301, Document 54, 06/07/2023, 3526377, Page7 of 87




Slack Technologies, LLC v. Pirani, No. 22-220,
  slip opinion (June 1, 2023) ............................................................................ 12, 16
Slayton v. Am. Express Co.,
  604 F.3d 758 (2d Cir. 2010) .................................................................... 36, 37, 38
Stadnick v. Vivint Solar, Inc.,
  861 F.3d 31 (2d Cir. 2017 ........................................................................ 12, 18, 20
TSC Indus., Inc. v. Northway, Inc.,
 426 U.S. 438 (1976) ..............................................................................................29
United States v. Ferguson,
 676 F. 3d 260 (2d Cir. 2011) ................................................................................28
United States v. Schiff,
 602 F.3d 152 (3d Cir. 2010) .................................................................................28
Statutes
15 U.S.C. § 77k ................................................................................................. 16, 19
15 U.S.C. § 77v ..........................................................................................................1
15 U.S.C. § 77z ........................................................................................................36
17 C.F.R. § 230.408 .................................................................................................19
17 C.F.R. § 210.3-12 ................................................................................................19
28 U.S.C. § 1291 ........................................................................................................1
28 U.S.C. § 1331 ........................................................................................................1
Rules
Fed. R. Civ. P. 12(b)(6)............................................................................................15
Fed. R. Civ. P. 15(a)(2) ............................................................................................44




                                                            v
            Case 23-301, Document 54, 06/07/2023, 3526377, Page8 of 87




                        JURISDICTIONAL STATEMENT

      The United States District Court for the Southern District of New York (the

“District Court”) had subject matter jurisdiction over this action under 28 U.S.C.

§ 1331 and Section 22 of the Securities Act of 1933 (“Securities Act”), 15 U.S.C.

§ 77v. On February 3, 2023, the District Court issued an Opinion and Order (the

“Order”), JA-192, SA-001, dismissing with prejudice the Amended Class Action

Complaint for Violations of the Securities Act (the “Complaint” or “FAC”), JA-011

(ECF No. 52), and the Clerk entered final judgment (the “Judgment”) on that same

day. JA-222, SA-031. 1 Plaintiff filed a timely notice of appeal on March 6, 2023.

JA-223. This Court has jurisdiction over this appeal pursuant to 28 U.S.C. § 1291.

                      ISSUES PRESENTED FOR REVIEW

      1.      Whether the District Court erred in holding that the Complaint did not

plausibly allege that Waterdrop’s Registration Statement contained an untrue

statement of material fact or omitted to state a material fact required to be stated

therein or necessary to make the statements therein not misleading where:

           a) Waterdrop failed to disclose unfavorable information concerning costs,
              expenses, and losses for the first quarter of 2021 (“Q1:21”);

           b) Waterdrop voluntarily disclosed favorable interim information for
              Q1:21 about growth in first year premiums (“FYP”), a key metric
              relating to revenue, but omitted all reference to the related unfavorable
              information concerning Q1:21 costs, expenses, and losses; and

1
  Citations herein to pages in the Special Appendix and Joint Appendix are referred
to as “SA ” and “JA ,” respectively. Citations to “¶ ” refer to the FAC.

                                           1
               Case 23-301, Document 54, 06/07/2023, 3526377, Page9 of 87




              c) Waterdrop failed to disclose the true reason behind the discontinuation
                 of Mutual Aid, a key segment of its business, and the resulting impact
                 thereof.

         2.      Whether the District Court erred in dismissing Plaintiff’s Securities Act

“control person” claims under Section 15 of the Securities Act, 15 U.S.C. § 77o.

         3.      Whether the District Court erred in denying Plaintiff at least one

opportunity to amend the Complaint to cure any pleading deficiencies.

                             STATEMENT OF THE CASE

    I.        Nature of the Case and Relevant Procedural History

         This is a securities class action on behalf of all who purchased or acquired

Waterdrop Inc.’s (“Waterdrop” or the “Company”) American Depositary Shares

(“ADSs”) pursuant or traceable to the Company’s registration statement and

prospectus, as amended (collectively, the “Registration Statement”), issued in

connection with Waterdrop’s May 2021 initial public offering (the “IPO”). JA-013,

¶ 1. 2 The Complaint brings claims under Sections 11 and 15 of the Securities Act,

15 U.S.C. §§ 77k and o, against Waterdrop, certain of its officers, directors,

representatives, and the underwriters of the IPO (collectively, “Defendants”). Id.

         Despite choosing to speak about favorable aspects of its Q1:21 interim


2
  As used herein, the term “Registration Statement” refers, collectively, to the
Registration Statement on Form F-1 that was filed by the Company on April 16,
2021, all amendments thereto, and the Prospectus filed on Form 424B4 on May 7,
2021, which was incorporated into and formed a part of the Registration Statement
that became effective on May 6, 2021. JA-031, ¶ 1.


                                              2
           Case 23-301, Document 54, 06/07/2023, 3526377, Page10 of 87




financial results in the “Recent Development” section of the Registration Statement,

Waterdrop omitted all references to any related unfavorable information for that

same quarter, including costs and expenses, which had already increased at an

unexpected rate for Q1:21 (and had further accelerated halfway into Q2:21),

resulting in considerable operating losses for both quarters. JA-043, ¶¶ 96-98. The

omission of this information was material as it created a misleading impression that

the Company’s financial position was better than it was, as evidenced by investors’

and analysts’ surprised reactions to the release of the Q1:21 results and the resulting

drop in Waterdrop’s stock price. See JA-037, ¶ 78; JA-039-40, ¶¶ 85-86; JA-163,

Pls. Opp. to MTD at 13 (ECF No. 56).

      With respect to the cessation of Mutual Aid, the Registration Statement failed

to disclose the true reason behind its shutdown was intense Chinese regulatory

pressure, and instead obliquely told investors that the Company discontinued its

Mutual Aid business due to “recent industry environment changes” and “latest

market development”—statements that could literally mean anything. JA-047-48, ¶¶

111-115. For investors considering whether to invest in Waterdrop’s IPO, the

omission of this information about Mutual Aid was material because it obscured the

true extent of the severe regulatory risk facing the Company. Id. Indeed, a September

15, 2021 Seeking Alpha article linked the later steep price decline of Waterdrop’s




                                          3
           Case 23-301, Document 54, 06/07/2023, 3526377, Page11 of 87




ADSs in part to the increasing regulatory scrutiny described in the Complaint,

further evidencing the materiality of this omitted information. JA-039, ¶ 86.

      As the full truth about both subjects was revealed to the market, the price of

Waterdrop’s ADSs reacted swiftly, and ultimately cratered from $12 at the start of

the IPO to well below $2 less than a year later at the time of the filing of the

Complaint. JA-035, ¶ 75; JA-040, ¶ 87.

      The initial complaint in this action, originally assigned to the Honorable

Vernon S. Broderick, was filed on September 14, 2021. See JA-004, ECF No. 1.

After being appointed Lead Plaintiff by Judge Broderick, see JA-008, ECF No. 45,

Plaintiff filed the operative Complaint, JA-011, and thereafter, Defendants filed a

Rule 12(b)(6) motion to dismiss. JA-063. After full briefing on Defendants’ motion

to dismiss, the action was reassigned to the Honorable Denise L. Cote. JA-009. On

February 3, 2023, without oral argument, Judge Cote dismissed the Complaint with

prejudice, finding Plaintiff failed to allege any actionable misleading statements or

omissions, and denied Plaintiff’s request for leave to amend based on futility. See

Sandoz v. Waterdrop Inc., No. 21-cv-7683, 2023 U.S. Dist. LEXIS 18745 (S.D.N.Y.

Feb. 3, 2023); see also JA-192, SA-001. The Clerk entered final Judgment closing

the action that same day. JA-222, SA-031. Plaintiff timely filed a Notice of Appeal

on March 6, 2023. JA-223.




                                         4
               Case 23-301, Document 54, 06/07/2023, 3526377, Page12 of 87




   II.        Factual Background

         A.     Overview of Waterdrop’s Business

         Based in China, Waterdrop operates an insurance technology platform that

historically had three interdependent business segments: 1) a mutual aid platform

(“Mutual Aid”), where individuals paid small amounts and the collective fund would

be used to pay the medical expenses of eligible beneficiaries; 2) a medical crowd-

funding platform, like the U.S. site “GoFundMe”; and 3) an insurance platform that

matches consumers with insurance products. JA-014, ¶ 2; JA-025-26, ¶¶ 44-47.

         Waterdrop earns most of its revenues from commissions received from

insurance companies for insurance products sold on the Waterdrop platform.

JA-014, ¶ 2; JA-025-26, ¶ 46. The Company did not derive significant profits from

its crowdfunding and Mutual Aid platforms; rather, these segments provided free

advertising and data collection, significantly lowering Waterdrop’s customer

acquisition costs. Id. As one Chinese technology columnist explained: “After users

have experienced crowdfunding and mutual aid, they will have more knowledge

about and a stronger desire for insurance products… This is fundamental to

Waterdrop’s ecosystem and a high barrier to entry for other players in the industry.”

JA-026, ¶ 47.

         B.     The Cessation of the Mutual Aid Platform

         On March 26, 2021, Waterdrop announced that it would be voluntarily

discontinuing Mutual Aid starting on March 31, 2021. JA-027, ¶ 50. While

                                           5
           Case 23-301, Document 54, 06/07/2023, 3526377, Page13 of 87




Defendant Peng Shen, founder, chairman, and CEO of Waterdrop, openly conveyed

that the cessation was an “upgrade [to Waterdrop’s] business”; in truth, two

confidential witnesses interviewed in this matter both stated that the cessation was

due to new regulations imposed by the China Banking and Insurance Regulatory

Commission (“CBIRC”). JA-026, ¶¶ 52-53. 3 In late 2020, the CBIRC began to

“crack down on illegal commercial insurance activities” by instituting new rules

meant to regulate many different aspects of internet insurance companies, including

online mutual aid platforms, to decrease the risk of fraud and illegal activity. JA-

028-31, ¶¶ 55-60. In response to this crackdown, almost all of China’s mutual aid

platforms ceased operations, and internet insurance companies began to pull other

products off the market. JA-029, ¶ 56; JA-031, ¶ 61. One analyst predicted that, due

to the increasingly strict regulatory environment, small and medium-sized insurance

companies would be “restricted from selling life insurance products online in the

future.” JA-031-32, ¶ 62. In other words, to ensure it could continue to operate as an

internet-based insurance broker, Waterdrop needed to rapidly gain more customers

and grow its business into one that was essentially too large to fail. JA-032, ¶ 63. To

this end, even before the cessation of Waterdrop’s Mutual Aid platform (but much

more so after the fact when Mutual Aid could no longer act as a source of cheaper



3
  The District Court cited to these confidential witness allegations, apparently
rejecting Defendants’ criticisms of them. See JA-195-96, SA-004-5, Order at 4-5.

                                          6
            Case 23-301, Document 54, 06/07/2023, 3526377, Page14 of 87




customer leads), the Company began heavily spending on more expensive third-

party marketing to drive traffic to its site. Id.

       C.     Waterdrop’s Initial Public Offering

       Waterdrop initially began planning its IPO in August 2020; however,

according to an April 12, 2021 Reuters article, the IPO progress was delayed by

Chinese regulators because Waterdrop’s “business model is seen as risky.” JA-032-

33, ¶¶ 65-66. Regardless of this pushback, Waterdrop proceeded with its offering,

filing its Registration Statement on Form F-1 with the SEC on April 16, 2021, which,

after an amendment, was declared effective on May 6, 2021. JA-033, ¶ 68.

       In the Registration Statement, Waterdrop vaguely stated that it ceased its

Mutual Aid platform “in order to focus on our core businesses,” and that contributing

factors to the decision were “increased recognition of our brand,” “latest market

development,” and “recent industry environment changes.” JA-033-34, ¶ 69.

However, the Registration Statement did not reveal the true reason behind the

cessation of Mutual Aid: increasing regulation of the insurance industry in China.

Id. Further, while the Registration Statement did disclose some risks associated with

the cessation of the Mutual Aid program, it failed to discuss the significant risk that,

without the cheaper customer leads generated by the platform, Waterdrop would

have to spend considerably more to acquire customers to maintain the growth of its

commercial insurance platform. JA-034, ¶ 71.



                                             7
           Case 23-301, Document 54, 06/07/2023, 3526377, Page15 of 87




      Additionally, the Registration Statement disclosed, under the heading “Recent

Development,” certain favorable financial results for Q1:21, which had ended over

a month before the IPO. JA-043, ¶ 96; JA-235, Prospectus at 8. For example,

Waterdrop disclosed that “[t]he FYP generated through Waterdrop Insurance

Marketplace reached RMB4,469 million for the first quarter of 2021, demonstrating

a 14.4% increase from the fourth quarter of 2020 or a 42.7% increase from the same

period of 2020.” Id. It also painted Waterdrop’s overall Q1:21 results in a positive

light: “We achieved a solid business growth in the first quarter of 2021.” Id.

      Despite disclosure of these positive results, Waterdrop did not disclose any

unfavorable results for Q1:21, including that related operating costs and expenses

had already skyrocketed during Q1:21, which led to a significant net operating loss

for the quarter. JA-043-44, ¶¶ 97-98. Instead, even though Waterdrop had already

incurred the costs, expenses, and losses for Q1:21 at the time of the IPO, the

Registration Statement provided only generic, hypothetical warnings that costs,

expenses, and losses “may continue in the future.” JA-045, ¶ 105.

      On the shoulders of its positive Registration Statement, Waterdrop sold 30

million Waterdrop ADSs at $12 per ADS to the investing public in its IPO,

generating $360 million USD in gross offering proceeds. JA-035, ¶ 75.

      D.     Waterdrop’s Q1:21 Financial Results

      On June 17, 2021, five weeks after the IPO, Waterdrop issued a press release



                                          8
          Case 23-301, Document 54, 06/07/2023, 3526377, Page16 of 87




announcing the Company’s financial results for the first quarter ended March 31,

2021. JA-036-37, ¶ 77. The Company reported that its operating costs and expenses

had ballooned by RMB579.1 million, or 75.7% year over year, to RMB1,343.9

million. Id. (emphasis added). Sales and marketing expenses increased 67% year

over year in the first quarter (and were increasing to a further 52% quarter over

quarter in Q2:21 or 160.5% year over year). Id. As a result, the Company suffered

an operating loss for the quarter of RMB460.6 million, compared with operating loss

of RMB111.1 million for the same period of 2020—a more than 400% increase. Id.

Once this unexpected information was disclosed to investors, the price of

Waterdrop’s ADSs fell 11% from $7.84 at closing on June 16, 2021, to $6.95 at

closing on June 17, 2021, on unusually heavy trading volume. JA-163, Pls. Opp. to

MTD at 13.

      Analysts expressed surprise at the unexpected news. JA-037, ¶ 78. An analyst

from Bank of America (“BofA”) wrote, under the heading “Cons: still a long way to

go to control acquisition cost,” that Waterdrop’s “sales and marketing expenses

[increased] by 68% YoY, faster than our FY21 forecast at 49%.” Id. Similarly, an

analyst from Morgan Stanley wrote: “The product mix shift to long term insurance

and further expansion in operating third party traffic have increased both its

operating costs (up 68% even excl. one-off shutdown costs of mutual aid platform)




                                        9
            Case 23-301, Document 54, 06/07/2023, 3526377, Page17 of 87




and sales & marketing costs (up 67% excl. SBC). As such, net losses for 1Q were

slightly higher than our expectation.” Id. 4

    III.   The District Court’s Opinion

       On February 3, 2023, the District Court issued its Order dismissing the

Complaint in its entirety. The District Court dismissed claims relating to

Waterdrop’s Q1:21 financial results for two reasons. First, the District Court held,

as a matter of law, that “a company has no obligation to report its quarterly financial

results before they have been finalized,” and that “the FAC has not plausibly alleged

that the 1Q21 financial results were finalized by the date of the IPO.” JA-214-15,

SA-023-24, Order at 23-24. 5 Second, the District Court found that “the Registration

Statement made robust disclosures about its operating expenses…. [and] made no

promises about Waterdrop’s 1Q21 financial condition, stated that operating costs

had been increasing over the past three years, and warned that they were likely to

increase[,]” so “[t]he FAC has not plausibly alleged that a reasonable investor would



4
  On September 8, 2021, Waterdrop issued a press release announcing its Q2:21
financial results. JA-039, ¶ 84. The release revealed that operating losses continued
to accelerate (to RMB815.4 million) due to sharp increases in operating costs and
expenses (which increased 160.5% year over year) and sales and marketing increases
(which increased 270.3% year over year). Id. On September 15, 2021, Seeking Alpha
reported that Waterdrop’s “shares are down more than 75% since their April IPO
due to a combination of widening losses and regulatory concerns. JA-039-40, ¶ 86.
5
  The District Court did not define the term “finalized.” For example, can it include
results later subject to revision? Does it mean audited? Or does it mean something
altogether different?

                                          10
           Case 23-301, Document 54, 06/07/2023, 3526377, Page18 of 87




be misled about Waterdrop’s financial condition given these disclosures.” JA-215,

SA-024, Order at 24.

      With respect to the allegations about the cessation of Mutual Aid, the District

Court dismissed these claims because “[t]he FAC fails to plead how any omission

from the Registration Statement of a further explanation of Waterdrop’s reasons for

closing Mutual Aid significantly altered the mix of information available to a

reasonable investor.” JA-219, SA-028, Order at 28.

      Lastly, the District Court rejected Plaintiff’s Section 15 claims “[b]ecause

there was no § 11 violation,” JA-220, SA-029, Order at 29, and also denied

Plaintiff’s first request for leave to amend, holding that “[t]he Lead Plaintiff has not

identified how further amendment would address the deficiencies in the FAC[,]” and

that “[t]he statements included in the FAC fail to state a claim under the Securities

Act, and as such, amendment would be futile.” JA-221, SA-030, Order at 30.

                       SUMMARY OF THE ARGUMENT

      The law has always been clear: companies cannot speak in half truths. See

Noto v. 22nd Century Grp., Inc., 35 F.4th 95, 105 (2d Cir. 2022). They can’t

selectively disclose the good and omit the bad. See In re Vivendi, S.A. Sec. Litig.,

838 F.3d 223, 240 (2d Cir. 2016). Once they choose to speak, they must speak

accurately and completely. See Noto, 35 F.4th at 105. Defendants didn’t do that here.

Very simply, they chose to speak about the good (Q1:21 FYP and revenue) and



                                          11
           Case 23-301, Document 54, 06/07/2023, 3526377, Page19 of 87




omitted the bad (Q1:21 costs and expenses). This is especially true in a registration

statement, where “detailed information about the firm’s business and financial

health” is necessary “so prospective buyers may fairly assess whether to invest.”

Slack Technologies, LLC v. Pirani, No. 22-220, slip op. at 3 (June 1, 2023) (citation

omitted). By focusing on whether Defendants had an affirmative duty to “report its

quarterly financial results before they have been finalized,” the District Court failed

to analyze this foundational tenet of securities law. JA-215, SA-024, Order at 24.

      Even if a duty to disclose was somehow not triggered by Waterdrop’s decision

to speak about its Q1:21 results, the District Court’s holding nonetheless

contravened “well settled” Second Circuit law. The Second Circuit test for whether

interim financial data is required to be disclosed in a registration statement has

nothing to do with “finality.” Rather, this Court has held in three separate cases that

the test is still simply “whether the [omitted] information was material in light of the

financial information already disclosed to investors”—i.e., “whether there is ‘a

substantial likelihood that the disclosure of the omitted [information] would have

been viewed by the reasonable investor as having significantly altered the “total

mix” of information made available.’” DeMaria v. Andersen, 318 F.3d 170, 180 (2d

Cir. 2003) (internal citation omitted); see also Stadnick v. Vivint Solar, Inc., 861 F.3d

31, 37 (2d Cir. 2017) (reaffirming DeMaria test); Asay v. Pinduoduo Inc., No. 20-

1423, 2021 U.S. App. LEXIS 26176, at *12 (2d Cir. Aug. 31, 2021) (describing



                                           12
           Case 23-301, Document 54, 06/07/2023, 3526377, Page20 of 87




DeMaria’s test as “well settled”).

      Here, the Complaint passes that test. It plausibly alleges that in light of the

positive revenue and FYP information revealed in the Registration Statement, both

investors and sophisticated analysts were surprised by the rate at which the Q1:21

costs and expenses increased and by the sizable net loss that the Company incurred

as a result. These allegations, along with the fact that the price of Waterdrop’s ADSs

tumbled when the truth was revealed, demonstrate that the omitted information was

material, or, put differently, that there was “‘a substantial likelihood that the

disclosure of the omitted [information] would have been viewed by the reasonable

investor as having significantly altered the “total mix” of information made

available.’” DeMaria, 318 F.3d at 180 (citation omitted).

      The District Court also erred in finding Waterdrop adequately warned

investors about its omitted Q1:21 financial results. Initially, because the Complaint’s

allegations specify omissions of historical or present fact, to which the bespeaks

caution doctrine does not apply, the District Court’s application of that doctrine to

these omissions is error. Moreover, Waterdrop’s warnings about future risks—e.g.,

losses “may continue in the future” (see JA-045, ¶ 105)—cannot legally insulate

Defendants from liability here, because Waterdrop’s expenses and losses for Q1:21

had already been incurred at the time of these “warnings.” See, e.g., JA-043, ¶ 98.




                                          13
           Case 23-301, Document 54, 06/07/2023, 3526377, Page21 of 87




      And even putting aside the erroneous application of bespeaks caution, the

Complaint alleges that, despite Waterdrop’s disclosure of its historical results and

purported cautionary language, sophisticated analysts still materially underestimated

the rate at which expenses and losses would increase in Q1:21. JA-036, ¶ 78;

JA-039, ¶ 85; JA-044, ¶ 99. Investors were surprised too. JA-163, Pls. Opp. to MTD

at 13. These allegations, although left unanalyzed by the District Court, are direct

evidence that reasonable investors were not adequately warned that Q1:21 costs and

expenses would increase at the rate they did.

      Additionally, the District Court erred in holding that Waterdrop’s failure to

disclose the true reasoning behind the shutdown of Mutual Aid was not a material

omission because the Registration Statement adequately warned about the general

regulatory environment in China and its accompanying risks. Like with the Q1:21

financial results, the District Court’s application of bespeaks caution to an omission

of historical fact is error. Nor did Waterdrop’s generic warnings address the existing

fact that the cessation of the Mutual Aid platform was due to regulatory pressure and

not, as vaguely represented, due to a voluntary choice made only in the interests of

strengthening Waterdrop’s business. This omission left investors in the dark about

the severity of the regulatory risk facing the Company when deciding whether to

invest in the IPO; it is therefore material and actionable.




                                          14
           Case 23-301, Document 54, 06/07/2023, 3526377, Page22 of 87




      Based on the foregoing, the District Court erroneously dismissed Plaintiff’s

Section 11 claims, and the Order should be reversed. Since the District Court erred

in dismissing the Section 11 claims, and the sole reason that the District Court

dismissed Plaintiff’s Section 15 claims was lack of a primary violation, the dismissal

of the Section 15 claims should be reversed as well.

      Finally, the District Court erred in denying Plaintiff leave to amend due to

futility because some purported deficiencies identified by the District Court could

be cured with additional facts. For example, where the District Court found that “the

FAC has not plausibly alleged that the 1Q21 financial results were finalized,”

JA-215, SA-024, Order at 24, if this holding is upheld by this Court, Plaintiff could

potentially supply these very facts and cure the deficiency. Thus, the District Court’s

refusal to grant Plaintiff at least one opportunity to amend based on futility is error.

                            STANDARD OF REVIEW

      This Court reviews the District Court’s dismissal for failure to state a claim

under Fed. R. Civ. P. 12(b)(6) de novo, “accepting the complaint’s factual

allegations as true and drawing all reasonable inferences in the plaintiff’s favor.”

Carpenters Pension Tr. Fund of St. Louis v. Barclays PLC, 750 F.3d 227, 232 (2d

Cir. 2014). This Court “generally review[s] denials of leave to amend for abuse of

discretion, [but] in cases in which the denial is based on futility [as here], we review

de novo.” Shimon v. Equifax Info. Servs. LLC, 994 F.3d 88, 91 (2d Cir. 2021).



                                          15
            Case 23-301, Document 54, 06/07/2023, 3526377, Page23 of 87




                                    ARGUMENT

   I.      Section 11 Imposes a Minimal Pleading Burden on Plaintiff

        “[Section] 11 places a relatively minimal burden on a plaintiff.” Herman &

Maclean v. Huddleston, 459 U.S. 375, 382 (1983). “The law imposes strict liability

on issuing companies when their registration statements contain material

misstatements or misleading omissions.” Slack Technologies, slip op. at 3 (citing

15 U.S.C. § 77K, Huddleston, 459 U.S. at 380). “Fraud is not an element or a

requisite to a claim under Section 11.” Rombach v. Chang, 355 F.3d 164, 171 (2d

Cir. 2004). And here, because Plaintiff’s claims do not allege fraud or sound in fraud,

“plaintiffs’ claims are not subject to the heightened pleading standard of Federal

Rule of Civil Procedure 9(b).” Litwin v. Blackstone Grp., L.P., 634 F.3d 706, 715

(2d Cir. 2011), cert. denied 565 U.S. 878 (2011). Therefore, “this is an ordinary

notice pleading case, subject only to the ‘short and plain statement’ requirements of

Federal Rule of Civil Procedure 8(a).” Id.

        Section 11 imposes liability on certain participants in a registration statement

if (1) the statement “contained an untrue statement of a material fact,” (2) the

statement “omitted to state a material fact required to be stated therein,” or (3) the

omitted information was “necessary to make the statements therein not misleading.”

Litwin, 634 F.3d at 715 (citing 15 U.S.C. § 77k(a)). Once a plaintiff establishes one




                                           16
              Case 23-301, Document 54, 06/07/2023, 3526377, Page24 of 87




of these three bases for liability, then “[l]iability against the issuer of a security is

virtually absolute, even for innocent misstatements.” Huddleston, 459 U.S. at 382.

        “[W]hen a district court is presented with a Rule 12(b)(6) motion, ‘a complaint

may not properly be dismissed . . . on the ground that the alleged misstatements or

omissions are not material unless they are so obviously unimportant to a reasonable

investor that reasonable minds could not differ on the question of their importance.’”

Litwin, 634 F.3d at 717 (citations omitted).

        Here, the Complaint plausibly alleges that, in violation of Section 11, the

Registration Statement contained materially misleading statements and omissions

about: (1) the extent of Waterdrop’s Q1:21 costs, expenses, and losses and the

unexpected rate at which they were increasing, and (2) the true reason for the

shutdown of Mutual Aid. The District Court’s findings to the contrary are reversible

error for the reasons discussed below.

   I.        The District Court Erred in Dismissing the Allegations Concerning
             Waterdrop’s Omitted Q1:21 Financial Results

        A.     The District Court Erred in Finding a Company Never Has an
               Obligation to Disclose “Quarterly Financial Results Before They
               Have Been Finalized”

        A duty to disclose can arise (1) from “statutes or regulations that obligate a

party to speak” and (2) from a company’s decision to speak about an issue or topic.

Vivendi, 838 F.3d at 239 n.8 (citations omitted). In this case, Waterdrop’s duty arose

from both. Instead of analyzing whether such a duty arose under either prong, the


                                           17
           Case 23-301, Document 54, 06/07/2023, 3526377, Page25 of 87




District Court applied a blanket rule whereby neither prong could ever apply to the

disclosure of quarterly financial results unless they have been “finalized”: “[A]

company has no obligation to report its quarterly financial results before they have

been finalized.” JA-215, SA-024, Order at 24. While there might exist situations

where a company isn’t obligated to disclose unfinalized quarterly financial results,

no such situation exists here. 6

             1.     The District Court’s Holding Contravened “Well-Settled”
                    Law Regarding the Disclosure of Interim Financial Results

      First, the District Court’s legal holding that a company never has an

“obligation to report its quarterly financial results before they have been finalized,”

JA-215, SA-024, Order at 24, contravenes “well-settled” Second Circuit law

regarding materiality in the context of the disclosure of interim financial results. See

DeMaria, 318 F.3d at 180; Stadnick, 861 F.3d at 37; Asay, 2021 U.S. App. LEXIS

26176, at *12. In DeMaria, plaintiffs alleged defendants violated Section 11 by

failing to disclose interim financial results in a prospectus for a quarter that ended

more than a month before an IPO, but that were not yet published by the company.

See 318 F.3d at 173, 179. There, the district court held (like here) that defendants

were insulated from liability, because there was no legal obligation to disclose



6
 For example, if a company chose not to speak about a topic, such an omission might
not give rise to liability under Section 10(b). See Matrixx Initiatives, Inc. v.
Siracusano, 563 U.S. 27, 44 (2011).

                                          18
            Case 23-301, Document 54, 06/07/2023, 3526377, Page26 of 87




interim results until the financial data disclosed in the registration statement became

stale under SEC Regulation S-X. Id. at 179-80. 7

       This Court rejected that reasoning (although ultimately affirmed dismissal on

other grounds), noting “[Regulation S-X] is not the only operative SEC regulation,”

and held that, because SEC Item 408 also applies to registration statements, the

proper question is simply “whether the [omitted] information was material in light

of the financial information already disclosed to investors.” Id. at 180 (citing 17

C.F.R. § 230.408) (emphasis added). 8 To answer this question, “we engage in the

familiar inquiry of whether there is ‘a substantial likelihood that the disclosure of

the omitted [interim information] would have been viewed by the reasonable

investor as having significantly altered the “total mix” of information made

available.’” Id. (citation omitted). 9

       Accordingly, under DeMaria and its progeny, Waterdrop had a duty to

disclose the omitted Q1:21 results—regardless of finality—if those results were


7
  Regulation S-X provides, in pertinent part, for the disclosure of certain interim
financial data where the financial statements in a Registration Statement become
stale (either 130 or 135 days old, depending on the filer). See 17 C.F.R. § 210.3-12.
8
  Item 408 provides that “[i]n addition to the information expressly required to be
included in a registration statement, there shall be added such further material
information, if any, as may be necessary to make the required statements, in light of
the circumstances under which they are made, not misleading.” 17 C.F.R. § 230.408.
9
  Like under DeMaria, Waterdrop was statutorily obligated to speak, pursuant to
Section 11 itself, if it omitted to state a material fact necessary to make the statements
it made about its results not misleading. See 15 U.S.C. § 77k(a).


                                           19
           Case 23-301, Document 54, 06/07/2023, 3526377, Page27 of 87




material (which, as set forth below, Plaintiff adequately alleges they were). The

District Court’s finding that “a company has no obligation to report its quarterly

financial results before they have been finalized” not only directly conflicts with

DeMaria, because even stale results would not need to be updated unless “finalized,”

but it also eschewed the Second Circuit’s “well settled” test for determining when

omitted interim financial data must be disclosed. JA-215, SA-024, Order at 24. 10

            2.     Having Spoken About the Q1:21 Results, Waterdrop
                   Assumed and Violated a Duty to Tell the Whole Truth

      Second, the law has always been clear that companies cannot speak in half-

truths. Thus, “[e]ven when there is no existing independent duty to disclose

information, once a company speaks on an issue or topic, there is a duty to tell the

whole truth.” Noto, 35 F.4th at 105 (quoting Meyer v. Jinkosolar Holdings Co., 761

F.3d 245, 250 (2d Cir. 2014)). “The rule against half-truths, or statements that are

misleading by omission, comports with the common-law tort of fraudulent

misrepresentation, according to which ‘a statement that contains only favorable

matters and omits all reference to unfavorable matters is as much a false




10
  Even Defendants stopped short of embracing the District Court’s position that a
company never has an obligation to report unfinalized quarterly financial results:
“[A] duty to accelerate reporting (even if possible) arises only where a reasonable
investor would view the omission as significantly alter[ing] the total mix of
information made available.” JA-088, Defs. MTD at 20 (ECF No. 54) (citing
Stadnick, 861 F.3d at 36) (internal quotations omitted).

                                        20
           Case 23-301, Document 54, 06/07/2023, 3526377, Page28 of 87




representation as if all the facts stated were untrue.’” Vivendi, 838 F.3d at 240

(citation omitted).

      Here, Waterdrop told a clear half-truth: the Company revealed the positive

half of their yet unpublished Q1:21 financial results (increase in Q1:21 FYP and

revenue) and omitted the corresponding negative half (increase in Q1:21 costs and

expenses). Although the District Court acknowledged Waterdrop spoke about its

Q1:21 results, it nevertheless narrowly focused on whether the results were final,

finding “a company has no obligation to report its quarterly financial results before

they have been finalized.” JA-215, SA-024, Order at 24. This newly minted, hardline

rule directly conflicts with this Court’s precedent and should be reversed. 11

      At the time of the IPO, Q1:21 had ended more than 30 days prior, and the

Company was already about halfway into Q2:21. JA-015, ¶ 5. While the Company

had not yet issued its Q1:21 earnings release, Waterdrop nonetheless chose to speak

in detail about favorable Q1:21 revenue-related results—regardless of whether those

results were final. See JA-043, ¶ 96. As a result, even if no independent duty to

disclose existed prior to speaking, “[h]aving chosen to speak about their [Q1:21



11
   For reasons unknown, the District Court downplayed Waterdrop’s statements
about Q1:21 as just “some general statements about growth in Waterdrop’s business
in 1Q21.” JA-215, SA-024, Order at 24. Waterdrop’s disclosures, however, were
material and concrete, disclosing an exact dollar amount for Q1:21 FYP, along with
the exact percentages for the sources of that FYP in terms of both consumer
acquisition channels and product offerings. JA-043, ¶ 96.

                                          21
           Case 23-301, Document 54, 06/07/2023, 3526377, Page29 of 87




results], Defendants had a duty to speak accurately, giving all material facts in

addressing those issues to permit investors to evaluate the potential risks.” Moab

Partners, L.P. v. Macquarie Infrastructure Corp., No. 21-2524, 2022 U.S. App.

LEXIS 35103, at *8 (2d Cir. Dec. 20, 2022) (emphasis added); see also Guozhang

Wang v. Cloopen Grp. Holding Ltd., No. 21-cv-10610, 2023 U.S. Dist. LEXIS

44788, at *23-25 (S.D.N.Y. Mar. 16, 2023) (finding omission actionable where

company chose to speak about a topic occurring after Q3:20 in a “Subsequent

Events” section even though the financial data in the registration statement was

limited to the end of Q3:20); In re Hi-Crush Partners L.P. Sec. Litig., No. 12-cv-

8557, 2013 U.S. Dist. LEXIS 171110, at *62 (S.D.N.Y. Dec. 2, 2013) (“A

corporation’s duty to disclose is especially obvious … where the corporation

chooses to selectively reveal positive information on a specific topic while

concealing closely-related negative information.”). 12 Waterdrop, however, did not

speak completely when it put forth “a statement that contain[ed] only favorable

matters and omit[ed] all reference to unfavorable matters[.]” Vivendi, 838 F.3d at


12
   Cf. Plumber & Steamfitters Local 773 Pension Fund, Bos. Ret. Sys. v. Danske
Bank A/S, 11 F.4th 90, 103 n.4 (2d Cir. 2021) (finding an “omission-based theory is
strained because the connection between the topic Danske chose to discuss (a new
anonymous reporting system) and the allegedly omitted information (Wilkinson’s
allegations [which were not reported through that new system]) is fairly attenuated”).
Unlike in Danske Bank A/S, the link between the topic Waterdrop chose to discuss
(Q1:21 FYP and revenue) and the omitted information (Q1:21 costs and expenses)
is inextricable, as one cannot calculate net income or evaluate financial condition
without both revenue and expenses.

                                         22
           Case 23-301, Document 54, 06/07/2023, 3526377, Page30 of 87




240. And when the Company issued its Q1:21 earnings release shortly after the IPO,

only then did the market learn the other material half of the truth: the increase in

FYP for Q1:21 was undercut by related costs and expenses that had risen at

unexpected rates. Id.

      In sum, whether this case is analyzed under DeMaria or Noto/Moab Partners,

the decisive question remains whether “a reasonable investor would attach

importance to [the omitted Q1:21 results] when making a decision,” Noto, 35 F.4th

at 105, or, at this stage, whether the omitted Q1:21 results were “so obviously

unimportant to a reasonable investor that reasonable minds could not differ on the

question of their importance.” Litwin, 634 F.3d at 717. In broadly holding “a

company has no obligation to report its quarterly financial results before they have

been finalized,” JA-215, SA-024, Order at 24, the District Court did not perform the

requisite materiality analysis, nor did it consider whether Waterdrop gave “all

material facts in addressing those issues to permit investors to evaluate the potential

risks.” Moab Partners, 2022 U.S. App. LEXIS 35103, at *8-9. 13



13
   In DeMaria, Stadnick, and Asay, this Court ultimately affirmed that the omitted
interim data was not material. But unlike in those cases where the companies
“avoided mentioning or reporting the [interim] Q2 financial results in the
Registration Statement,” Asay, 2021 U.S. App. LEXIS 26176, at *12, Waterdrop
here chose to speak about favorable revenue-related interim results, while omitting
all unfavorable related results for that same quarter. This key fact immediately
differentiates the case at hand from those cases.


                                          23
               Case 23-301, Document 54, 06/07/2023, 3526377, Page31 of 87




       B.       Waterdrop’s Omitted Q1:21 Financial Results Were Material

                1.    A Meaningful Financial Analysis Could Not Be Performed
                      Without Waterdrop’s Omitted Q1:21 Costs and Expenses

       Under the heading “Recent Development,” Defendants leveraged the

Registration Statement to selectively disclose that Waterdrop’s FYP for the Q1:21

had reached RMB4,469 million (representing a 14.4% increase from 4Q:20 and a

42.7% increase year-over-year), while entirely omitting countervailing increases in

Q1:21 operating costs and expenses. JA-034-35, ¶¶ 72-73. The Registration

Statement also framed Waterdrop’s overall Q1:21 results to potential investors in a

positive light: “We have achieved a solid business growth in the first quarter 2021.”

JA-043, ¶ 96. Then, after the IPO closed, Defendants revealed the other half of the

story—that Waterdrop’s operating costs and expenses for Q1:21 totaled some

RMB1,343.9 million, representing a 75.7% year-over year increase, while its sales

and marketing expenses for the quarter totaled RMB837.2 million, representing a

67.7% year-over-year increase. JA-037, ¶ 77; JA-043, ¶ 97. Both led to a net

operating loss for the quarter that was 400% greater than the same period of the prior

year. Id. 14




14
   It is not difficult to imagine how disclosing only positive information on the eve
of an IPO, while omitting related negative information, would help promote investor
interest in the offering and more positively spin the offering price.

                                           24
           Case 23-301, Document 54, 06/07/2023, 3526377, Page32 of 87




      The materiality of Waterdrop’s omitted operating costs and expenses to a

meaningful financial analysis cannot be overstated, as it is impossible to calculate

“net income” or to evaluate a company’s current financial condition without these

types of figures. See, e.g., In re Hudson Techs., Inc. Sec. Litig., No. 98-cv-1616,

1999 U.S. Dist. LEXIS 15032, at *1 (S.D.N.Y. Sep. 26, 1999) (recognizing that

information which affects net income significantly alters the “total mix” of

information available to a reasonable investor); Campbell v. Transgenomic, Inc., 916

F.3d 1121, 1125 (8th Cir. 2019) (finding omission of expenses and net income/loss

was not immaterial as a matter of law). On this basis alone, the Complaint plausibly

alleges that the omitted information was material. Indeed, the disclosure of the

omitted Q1:21 costs and expenses importantly would have confirmed or dispelled

expectations about Waterdrop’s existing Q1:21 costs and expenses vis á vis the

disclosed Q1:21 FYP. A reasonable investor thus would have “attach[ed] importance

to it when making a decision” whether to invest or not in the IPO. Noto, 35 F.4th at

105; see also Meyer, 761 F.3d at 251 (“[T]he omission must be of facts that a

reasonable investor would consider important.”); Ganino v. Citizens Utils. Co., 228

F.3d 154, 162 (2d Cir. 2000) (“[I]t is not necessary to assert that the investor would

have acted differently if an accurate disclosure was made.”).

             2.    The Evidentiary Allegations Support the Materiality of
                   Waterdrop’s Omitted Q1:21 Financial Results




                                         25
           Case 23-301, Document 54, 06/07/2023, 3526377, Page33 of 87




      Moreover, unlike in many cases where a district court, in an evidentiary

vacuum, must make the fact-intensive determination of whether a hypothetical

reasonable investor would have found omitted information material, the Complaint

here supplies key evidentiary allegations to aid in that determination.

      The Complaint alleges that sophisticated financial analysts were tracking and

were surprised by the rate at which costs and expenses increased in Q1:21. JA-036,

¶ 78; JA-044, ¶ 99. For example, based on the Registration Statement, BofA

published a report initiating coverage on June 1, 2021 (i.e., after the IPO but before

the Q1:21 earnings release), in which it projected—based on figures in the

Registration Statement—that Waterdrop’s sales and marketing expenses would rise

approximately 49% year-over-year. JA-035, ¶ 76; JA-036, ¶ 78. Just 12 business

days later, Waterdrop’s earning release revealed it was on-track to exceed BofA’s

projection for sales and marketing expenses in 2021 by 19%. JA-036-37, ¶ 77. To

that end, on June 17, 2021 (the day Waterdrop issued its Q1:21 earnings release),

BofA published a follow-up report explaining that “growth of the most costly third

party traffic continued to outgrow natural traffic, leading to the increase of its sales

and marketing expenses by 68% YoY, faster than our FY21 forecast at 49%.”

JA-037, ¶ 78 (emphasis added). Similarly, the following day, a Morgan Stanley

analyst issued a report titled, “In Line Revenue Growth; Cost Worse Than

Expected,” wherein it stated that Waterdrop’s “product mix shift to long term



                                          26
           Case 23-301, Document 54, 06/07/2023, 3526377, Page34 of 87




insurance and further expansion in operating third party traffic have increased both

its operating costs…and sales & marketing costs” above expectations. Id.

      Without the benefit of the omitted Q1:21 costs and expenses, analysts,

particularly from BofA, materially underestimated the rate at which these figures

would increase. And judging by the market’s reaction to the release of the Q1:21

results, so too did investors. See JA-163, Pls. Opp. to MTD at 13. Thus, regardless

of how Defendants spin what possibly could be gleaned about Q1:21 from

Waterdrop’s historical results, the Complaint’s allegations are proof that the omitted

information was considered important and would have significantly altered the “total

mix” of information made available at the time of the IPO.

      Once this unexpected information was disclosed to investors in Waterdrop’s

Q1:21 earning release, the price of Waterdrop’s ADSs fell 11% from $7.84 at closing

on June 16, 2021, to $6.95 at closing on June 17, 2021, on unusually heavy trading

volume. JA-163, Pls. Opp. to MTD at 13; see Christine Asia Co. v. Yun Ma, 718 F.

App’x 20, 22 (2d Cir. 2017) (“The importance of this information to investors is

illustrated by the fact that, when it was revealed . . . Alibaba’s stock dropped 13% in

two days.”); see also In re Insys Therapeutics, Inc. Sec. Litig., No. 17-cv-1954, 2018

U.S. Dist. LEXIS 100000, at *13 (S.D.N.Y. June 12, 2018) (finding investor reaction

with “heavy trading volume” to be “empirical evidence of materiality”). This price

drop, combined with the allegations that analysts tracked and underestimated the rate



                                          27
           Case 23-301, Document 54, 06/07/2023, 3526377, Page35 of 87




of increasing expenses and loss, are “substantial” evidence that the omitted

information was highly material. See United States v. Ferguson, 676 F. 3d 260, 274-

75 n.10 (2d Cir. 2011) (finding testimony from stock analysts and investment

manager about the importance of information was “substantial”); see also United

States v. Schiff, 602 F.3d 152, 171 n.26 (3d Cir. 2010) (noting other “effective”

“evidentiary methods” for proving materiality include analyst testimony, and finding

“analyst . . . reports discussing [relevant topics] are themselves probative of this

issue”). At the very least, Plaintiff’s evidentiary allegations demonstrate that the

omitted information was not “so obviously unimportant to a reasonable investor that

reasonable minds could not differ on the question of their importance.” Litwin, 634

F.3d at 717.

      Although the District Court noted that “[t]he FAC points to financial analysts’

reports and the drop in Waterdrop’s share price after the announcement of the 1Q21

financial results to demonstrate the impact this omission had on investors,” it

inexplicably stopped there, with no further analysis of the fact. JA-214, SA-023,

Order at 23. The District Court made no attempt to reconcile these evidentiary

allegations with its conclusion that the omitted information was immaterial and did

not need to be disclosed in connection with the IPO. In effect, the District Court

elevated its own immateriality determination over this objective evidence of

materiality—a determination more appropriately left to the trier of fact. See Litwin,



                                         28
           Case 23-301, Document 54, 06/07/2023, 3526377, Page36 of 87




634 F.3d at 717 (the “‘determination [of materiality] requires delicate assessments

of the inferences a ‘reasonable shareholder’ would draw from a given set of facts

and the significance of those inferences to him, and these assessments are peculiarly

ones for the trier of fact.’” (citing TSC Indus., Inc. v. Northway, Inc., 426 U.S. 438,

450 (1976))).

      C.     The Complaint Plausibly Alleges that Waterdrop’s Q1:21
             Results Were “Finalized”

      In the alternative, even if the materiality of Waterdrop’s Q1:21 omitted results

somehow depends on their finality, the Complaint plausibly alleges facts from which

such “finality” can be reasonably inferred. 15 First, the Complaint alleges that Q1:21

ended over a month before the IPO and that the Company was already about halfway

into Q2:21. Considering the amount of time that passed since the end of the quarter,

this fact alone renders it plausible that the Q1:21 results were “finalized” by the time

of the IPO. Second, on top of that timing, Waterdrop was able to disclose the exact

amount of FYP for Q1:21, including the specific sources of that FYP in terms of

percentages. JA-034-35, ¶ 72; JA-043, ¶ 96. And when Waterdrop issued its Q1:21

earnings release five weeks later, the amount of FYP previously disclosed did not



15
   Nevertheless, once Waterdrop chose to speak on this topic, it became obligated to
disclose the related Q1:21 costs and expenses at whatever level of finalization they
existed at that time. In other words, whether the results were “finalized” is, in effect,
irrelevant here, because Waterdrop, by choice, accelerated the timing of the
disclosure of those results in whatever form they existed at that time.

                                           29
           Case 23-301, Document 54, 06/07/2023, 3526377, Page37 of 87




change. Compare id. with JA-124, Q1:21 Press Release (ECF No. 55-2). Thus, if

Waterdrop was able to disclose its “finalized” FYP figures as part of the IPO, it is

not implausible that it also could have disclosed its “finalized” cost and expense

figures. While each of these allegations alone allows for the reasonable inference

that the Q1:21 results were “finalized” by the time of the IPO, when considered

together, they leave little room for doubt. The District Court’s finding otherwise is

erroneous. JA-215, SA-024, Order at 24. 16

      D.     The District Court Also Created a New, Erroneous Test for
             Whether Statements Are Material Based on “Promises”

      Adopting Defendants’ argument that the Registration Statement did not

“promise” expenses would decline as a proportion of revenues in Q1:21 or Q2:21,

JA-090, MTD at 22, the District Court also effectively created a novel requirement

whereby statements are inactionable if a company makes no affirmative promises

about its financial results. See JA-215, SA-024, Order at 24 (“The Registration

Statement made no promises about Waterdrop’s 1Q21 financial condition[.]”). But

the proper test for whether the Registration Statement contained an actionable


16
   Notably, this Court in Asay did not parrot that district court’s (finality-like)
reasoning that those results didn’t need to be disclosed, in part, because the
complaint did not allege whether the results “were audited or were later subject to
significant revision.” Asay v. Pinduoduo Inc., No. 18-cv-7625, 2020 U.S. Dist.
LEXIS 56179, at *27 (S.D.N.Y. Mar. 30, 2020). Rather, this Court analyzed only,
as DeMaria instructs, whether the omitted interim financial information was
material. See Asay, 2021 U.S. App. LEXIS 26176, at *14.


                                         30
               Case 23-301, Document 54, 06/07/2023, 3526377, Page38 of 87




omission is not whether the Company made any “promises about Waterdrop’s 1Q21

financial condition.” Id. Such a standard would obliterate the federal securities laws.

For example, a drug company could repeatedly tout a developmental drug, omit that

it caused life-threatening effects to everyone in the drug trial, but still escape liability

so long as the company didn’t make any “promises” about its efficacy and safety.

As explained above, the proper test is simply “whether the [omitted] information

was material in light of the financial information already disclosed to investors.”

DeMaria, 318 F.3d at 180.

   II.        The District Court Erroneously Held That Waterdrop Adequately
              Warned Investors About the Omitted Q1:21 Results

         Next, the District Court erred in finding that the Registration Statement

adequately warned investors about the risks relating to the omitted Q1:21 financial

results. JA-209, SA-018, Order at 18. In doing so, the District Court erroneously

applied the bespeaks caution doctrine to omissions of historical and present fact,

rather than forward-looking statements, and found generic warnings about risks that

had already transpired were meaningful, when they were not.

         A.     The District Court Erroneously Applied Bespeaks Caution to
                Omissions of Present/Historical Fact

         The District Court compounded its legal error by applying the bespeaks

caution doctrine to omissions of historical or present fact about Waterdrop’s Q1:21

results, finding such omissions were accompanied by sufficient cautionary language



                                            31
           Case 23-301, Document 54, 06/07/2023, 3526377, Page39 of 87




to render them inactionable. See JA-209, SA-018, Order at 18; see also id. (citing

bespeaks caution doctrine).

      “The bespeaks-caution doctrine is a corollary of ‘the well-established

principle that a statement or omission must be considered in context.’” Iowa Pub.

Employees’ Ret. Sys. v. MF Glob., Ltd., 620 F.3d 137, 141 (2d Cir. 2010). “Under

the bespeaks caution doctrine, ‘alleged misrepresentations in a stock offering are

immaterial as a matter of law [if] it cannot be said that any reasonable investor could

consider them important in light of adequate cautionary language set out in the same

offering.” Rombach, 355 F.3d at 173 (citation omitted). “It is settled that the

bespeaks-caution doctrine applies only to statements that are forward-looking.” MF

Glob., 620 F.3d at 142. The doctrine does not apply to “an omission of present fact.”

Id.; see also P. Stolz Family P’ship L.P. v. Daum, 355 F.3d 92, 96-97 (2d Cir. 2004)

(adopting limitation that “misrepresentation of present or historical facts cannot be

cured by cautionary language”) (emphasis added).

      As the District Court recognized, “[t]he FAC alleges … it was a material

omission for the Registration Statement to omit that in 1Q21, operating costs and

expenses had increased more than 75%, when measured year over year, and that the

company experienced an operating loss.” JA-214, SA-023, Order at 23 (emphasis

added). These allegations specify “omission[s] of present fact, to which bespeaks

caution does not apply: [The Q1:21 costs, expenses, and losses were] ascertainable



                                          32
           Case 23-301, Document 54, 06/07/2023, 3526377, Page40 of 87




when the challenged statements were made. It was therefore error for the district

court to rely on the bespeaks-caution doctrine to dismiss that claim.” MF Glob., 620

F.3d at 142.

      B.       Defendants’ Cautionary Language Was Not Meaningful
               Because It Was Generic and Misleading

      Even if the District Court properly considered whether Waterdrop’s

cautionary language could cure its omissions of present and historical fact, “[t]he

bespeaks caution doctrine does not serve if it is abused or gamed.” Rombach, 355

F.3d at 173. “Cautionary words about future risk cannot insulate from liability the

failure to disclose that the risk has transpired.” Id. Nor will generic risk warnings

“suffice when undisclosed facts on the ground would substantially affect a

reasonable investor’s calculations of probability.” Meyer, 761 F.3d at 251.

      The District Court found “the Registration Statement made robust disclosures

about [Waterdrop’s] operating expenses[,]” holding because “[t]he Registration

Statement made no promises about Waterdrop’s 1Q21 financial condition, stated

that operating costs had been increasing over the past three years, and warned that

they were likely to increase[,] [t]he FAC has not plausibly alleged that a reasonable

investor would be misled about Waterdrop’s financial condition given these

disclosures.” JA-215, SA-024, Order at 24. And “[t]he Registration Statement did

not say nor suggest that operating costs would decrease in 2021 either absolutely or




                                         33
           Case 23-301, Document 54, 06/07/2023, 3526377, Page41 of 87




as a percentage of net operating revenue.” JA-211, SA-020, Order at 20. This

conclusion is also error and warrants reversal.

      To start, the Complaint’s theory is not, and has never been, that investors were

misled into believing “that operating costs would decrease in 2021.” JA-211, SA-

020, Order at 20. Rather, the omitted information concealed that Waterdrop’s costs

and expenses had increased at a higher-than-expected rate. See, e.g., JA-037, ¶ 78.

Indeed, the Complaint alleges sophisticated analysts tracked and materially

underestimated the rate at which expenses and losses would increase, even in the

face of Waterdrop’s disclosed historical results and “robust disclosures.” Id. Thus,

if these analysts could not anticipate the rate of increase with the “robust disclosures”

and historical results provided, a less sophisticated reasonable investor couldn’t

either and shouldn’t be held to a more formidable standard. See JA-163, Pls. Opp. to

MTD at 13. The District Court failed to grapple with this reasoning.

      Additionally, the Registration Statement did assure investors that “we expect

our operating costs as a percentage of our net operating revenue will decrease in the

foreseeable future,” despite operating costs as a percentage of revenue having

already increased in Q1:21 (to 152% from 133% in Q4:20) and being well on its way

in Q2:21 to increasing to its highest percentage ever (186%) compared to any other

quarter listed in the Registration Statement. JA-044-45, ¶¶ 102-104. Yet the District

Court found no reasonable investor could have interpreted references to “the



                                           34
           Case 23-301, Document 54, 06/07/2023, 3526377, Page42 of 87




foreseeable future” as including 2021—even though Merriam Webster defines this

phrase as meaning “soon.” See JA-166, Pls. Opp. to MTD at 16. 17

      At worst, both inferences are plausible, in which case the District Court was

“required to credit the plaintiffs’ plausible theory when evaluating a Rule 12(b)(6)

motion.” IWA Forest Indus. Pension Plan v. Textron Inc., 14 F.4th 141, 146 (2d Cir.

2021). In fact, IWA Forest concerned this District Court’s interpretation of a similar

temporal statement to the case at hand. There, the District Court found that the term

“older” only referred to snowmobiles model year 2016 and earlier, despite plaintiffs’

plausible allegations that “older” also referred to model year 2017. Id. This Circuit

reversed, explaining that the District Court’s inference, “although not unreasonable,

‘is entitled to little weight at this stage of the litigation.’” Id. (citation omitted).

Likewise, at this stage, the District Court should have credited Plaintiff’s plausible

theory that a reasonable investor could have interpreted the phrase “foreseeable

future” to include 2021.

      The District Court also found that the statements about the “foreseeable

future” were forward-looking and accompanied by the following “meaningful

cautionary language [that] renders [them] immaterial”:



17
   Defendants did not even go so far as to argue that the “foreseeable future” could
not have included any part of 2021. See JA-090, MTD at 22 (“‘foreseeable future’
cannot be read, as of May 7, 2021, to promise such a decline in 1Q21—which was
already complete—or in 2Q21, which was ongoing.”).

                                          35
           Case 23-301, Document 54, 06/07/2023, 3526377, Page43 of 87




      This prospectus contains forward-looking statements that reflect our
      current expectations and views of future events. . . . Known and
      unknown risks, uncertainties and other factors, including those listed
      under “Risk Factors,” may cause our actual results, performance or
      achievements to be materially different from those expressed or implied
      by the forward-looking statements.... These forward-looking statements
      involve various risks and uncertainties. Although we believe that our
      expectations expressed in these forward-looking statements are
      reasonable, our expectations may later be found to be incorrect. Our
      actual results could be materially different from our expectations.

JA-211, SA-020, Order at 20. 18

      Contrary to the District Court’s conclusion, nearly identical language was held

not meaningful (under the related PSLRA safe harbor) by the Second Circuit in

Slayton v. Am. Express Co., 604 F.3d 758 (2d Cir. 2010). 19 There, defendants’ “Form

10-Q warned that it ‘contain[ed] forward-looking statements, which are subject to

risks and uncertainties’” and that ‘[f]actors that could cause actual results to differ

materially from these forward-looking statements include . . . potential deterioration

in the high-yield sector, which could result in further losses in AEFA’s investment

portfolio.’” Id. at 764. This Court held that “defendants have failed to demonstrate

that the [] statement is protected by the cautionary meaningful language prong of the

18
  The District Court sua sponte raised this “cautionary language,” as Defendants did
not argue below that this language was meaningful, nor was it included anywhere in
the Complaint or in the excerpts of the Registration Statement attached to their
motion to dismiss. See JA-102, Defs. Ex. A, Prospectus Excerpts (ECF No. 55-1).
19
  Although the PSLRA safe harbor does not apply to IPOs, see 15 U.S.C. § 77z-
2(b)(2)(D), “[t]he ‘bespeaks caution’ doctrine contemplates a similar inquiry as the
PSLRA’s safe harbor.” In re Bemis Co. Sec. Litig., 512 F. Supp. 3d 518, 537 n.6
(S.D.N.Y. 2021).

                                          36
           Case 23-301, Document 54, 06/07/2023, 3526377, Page44 of 87




statutory safe harbor.” Id. at 773. In fact, this Court held that even the more specific

language “referencing the deterioration of in the high-yield sector generally, is

vague,” and “verges on the mere boilerplate, essentially warning that ‘if our portfolio

deteriorates, then there will be losses in our portfolio.’” Id. at 772.

      Similarly, Waterdrop’s so-called cautionary language is so general that it

could apply to any company, in any industry, and could apply to a thriving business

just as equally as one on the precipice of bankruptcy. As a result, the language was

meaningless to investors, and the District Court’s holding that this language was

sufficient to entitle Defendants to protection under the bespeaks caution doctrine

warrants reversal.

      In addition, Waterdrop’s warnings that costs “were likely to increase,” as the

District Court summarized (JA-215, SA-024, Order at 24), or that net losses “may

continue in the future” (JA-045, ¶¶ 105-106), were not only boilerplate (as it is

always possible that a loss may or may not continue in the future), but also were

misleading because they omitted the material information that Waterdrop had

already incurred increased costs, expenses, and a net loss for Q1:21, and these

expenses were accelerating in the first half of Q2:21, indicating it was likely to incur

an even larger net loss in Q2:21. JA-045, ¶ 106; see Slayton, 604 F.3d at 770

(“cautionary language that is misleading in light of historical fact cannot be

meaningful”). Thus, even if Defendants’ cautionary words were not mere boilerplate



                                           37
           Case 23-301, Document 54, 06/07/2023, 3526377, Page45 of 87




risk disclosures, Defendants are still not insulated from liability because their

“[c]autionary words about future risk cannot insulate from liability the failure to

disclose that the risk has transpired.” See Rombach, 355 F.3d at 173; see also

Moshell v. Sasol Ltd., 481 F. Supp. 3d 280, 289 (S.D.N.Y. 2020) (“[Because] Sasol’s

public cost estimates and projected schedules totally failed to account for already

existing cost overruns and delays[,] [t]his renders the defendants’ cautionary

statements that their announced budgets and schedules ‘may be affected by delays

or cost overruns’ misleading because, among other things, the risk they warned of

‘had already transpired.’”) (quoting Slayton, 604 F.3d at 770).

      In closing, even assuming cautionary language could legally cure omissions

of present or historical fact, the alleged omissions here were not cured by the

boilerplate disclosures Waterdrop did make—including those about historical results

and the cautionary language about future risks that had already transpired—because

they “did not reveal the information necessary for the investing public to make a

proper assessment of the alleged risks.” Moab Partners, 2022 U.S. App. LEXIS

35103, at *8-9.

   III.   Defendants Failed to Disclose the True Reason for the
          Cessation of Mutual Aid

      With respect to Waterdrop’s discontinuation of Mutual Aid, the Registration

Statement vaguely stated that the Company ceased this platform “in order to focus

on our core businesses and offer enhanced protection to our users,” and that


                                         38
           Case 23-301, Document 54, 06/07/2023, 3526377, Page46 of 87




contributing factors to the decision were “increased recognition of our brand,” “latest

market development,” and “recent industry environment changes.” JA-033, ¶ 69.

These statements created the misleading impression that the discontinuation was a

voluntary choice made only in the interests of strengthening Waterdrop’s business,

when in truth, the shutdown was allegedly due to regulatory pressure from the

Chinese government. JA-047-49, ¶¶ 112-16; see also JA-023, ¶ 40 (“CW1 stated

that the shutdown of Waterdrop’s mutual aid platform was due to regulations put in

place by the CBIRC.”); JA-023, ¶ 41 (“CW2 stated that the cessation of Waterdrop

Mutual Aid was due to the CBIRC’s new regulatory requirements in early 2021.”).

Thus, although the shutdown itself was disclosed prior to IPO, nowhere in the

Registration Statement did Waterdrop mention or even allude to the fact that the

reason behind the cessation of the Mutual Aid platform was regulatory pressure. To

say otherwise was patently false or misleading. As a result, investors were misled

regarding the severity of the regulatory risk confronting the Company at the time of

the IPO. See Noto, 35 F.4th at 105 (finding omission of SEC investigation material

because it “would directly bear on the reasonable investor’s assessment of the

severity of the reported accounting weaknesses.”). 20



20
  Describing the cessation as voluntary also misleadingly implied that the Company
could unilaterally revive this key business segment at a later time. And, even if one
were to accept as true that Waterdrop ceased Mutual Aid, perhaps in part, due to any
of the vague reasons it disclosed, the Company still violated its duty to tell the whole

                                          39
           Case 23-301, Document 54, 06/07/2023, 3526377, Page47 of 87




      The American media began reporting on the CBIRC’s increased regulatory

pressure on internet-based insurance companies in August 2021. JA-038, ¶¶ 80-81.

For example, a Bloomberg story entitled “China Goes After Online Insurance in

Widening Crackdown” reported that that “[r]egulators have [] moved to shutter some

operations including mutual aid healthcare platforms operated by Waterdrop” and

“[t]he latest move will stymie growth in an industry that had been expected to grow

to 2.5 trillion yuan ($385 billion) in a decade.” Id. As with the increasing operating

expenses, the materiality of this revelation is not merely hypothetical; analysts from

BofA and investment website Seeking Alpha both noted regulatory concerns as

reasons why the stock price had dropped since the IPO and was likely to continue to

decrease. JA-039-40, ¶¶ 85-86. Regarding the cessation of the Mutual Aid program,

Seeking Alpha noted, “Waterdrop was forced to jettison one of its biggest referral

sources for new insurance business, which may partly explain its current heavy

reliance on costly third-party channels as a source for finding new customers.” JA-

039-40, ¶ 86.

      Nevertheless, the District Court dismissed these claims because it found the

Registration Statement “describes the regulatory environment in China in

considerable detail,” “warns investors of the risks to Waterdrop’s business stemming



truth by omitting that the shutdown was also due to regulatory pressure. See Noto,
35 F.4th at 105.

                                         40
            Case 23-301, Document 54, 06/07/2023, 3526377, Page48 of 87




from that environment,” “explains that the online insurance industry is highly

regulated in China and describes the enhanced supervision of the CBIRC,” “adds

that [Waterdrop] already had been subject to regulatory investigations and may be

subject to penalties,” and “information about the government regulations was

publicly available to investors.” JA-219, SA-028, Order at 28. But, even putting

aside that the bespeaks caution doctrine legally cannot apply to this omission of

historical fact, none of these purported warnings inform investors that Mutual Aid

was shuttered due to intense regulatory pressure, and not, as represented, “in order

to focus on our core businesses and offer enhanced protection to our users,” or due

to “increased recognition of our brand,” “latest market development,” and “recent

industry environment changes.” JA-033-34, ¶ 69. And the mere fact that investors

may have been informed about the general regulatory environment in China or about

potential future risks stemming from that environment, does not absolve the

Company from omitting the specific, historical fact that the regulatory pressure had

already increased to such a level that Waterdrop jettisoned a key component of its

business. See Rombach, 355 F.3d at 173 (“Cautionary words about future risk cannot

insulate from liability the failure to disclose that the risk has transpired.”). 21


21
   Waterdrop also counterbalanced its generic risk statements with favorable
statements about how “the growth of health insurance section has been supported by
the Chinese government in recent years” and how “recent regulatory developments
are expected to have positive impacts on China’s health insurance industry.” JA-049,
¶ 118. The District Court deemphasized these statements as only “a description of

                                            41
           Case 23-301, Document 54, 06/07/2023, 3526377, Page49 of 87




      Finally, although the District Court held that “[t]he FAC fails to plead how

any omission from the Registration Statement of a further explanation of

Waterdrop’s reasons for closing Mutual Aid significantly altered the mix of

information available to a reasonable investor,” JA-219, SA-028, Order at 28, the

Complaint specifies exactly how this information was highly material to investors:

“The fact that regulators could essentially shut down an entire industry in the matter

of a few months was critical information to understanding the risks inherent in

Waterdrop’s business.” JA-047, ¶ 113. Indeed, at the time the Registration Statement

was filed, Waterdrop was being actively investigated by the CBIRC for misleading

advertising practices, which resulted in the Company incurring an RMB1 million

fine, a precarious position for a company that had not yet achieved profitability.

JA-052, ¶ 126. 22




the health insurance sector generally,” but the statements are nevertheless applicable
to Waterdrop because the online insurance industry is encompassed by the broader
health insurance sector, a fact which the District Court did not address. JA-216,
SA-025, Order at 25.
22
  Waterdrop also omitted this fact from its Registration Statement, but the District
Court found it to be immaterial. JA-217, SA-026, Order at 26. Despite the many
similarities between this case and Meyer, where this Circuit reversed the dismissal
of a complaint where the company explained in its prospectus that it was subject to
China’s harsh environmental regulations but did not disclose that it was in violation
of those regulations, which ultimately led to fines, see 761 F.3d at 249, the District
Court nonetheless concluded that Meyer is distinguishable. See JA-218, SA-027,
Order at 27.

                                         42
            Case 23-301, Document 54, 06/07/2023, 3526377, Page50 of 87




        As described above, Seeking Alpha and BofA both subsequently linked the

severe price decline of Waterdrop’s ADSs in part to the increasing regulatory

scrutiny described in the Complaint, further evidencing the materiality of this

omitted information. JA-039-40, ¶¶ 85, 86 (“Waterdrop’s ‘shares are down more

than 75% since their April IPO due to a combination of widening losses and

regulatory concerns.’”). If the Registration Statement had adequately disclosed the

true reason behind Waterdrop’s cessation of its Mutual Aid program, namely

increased regulatory pressure, the ongoing effects of this regulation on Waterdrop’s

business likely would not have come as such a surprise to investors and led to such

a severe price decline. Therefore, the District Court’s holding warrants reversal.

   IV.    The Complaint Adequately Alleges Claims Under
          Section 15 of the Securities Act

        The District Court dismissed Plaintiff’s claims under Section 15 of the

Securities Act solely “[b]ecause there was no § 11 violation[.]” JA-220, SA-029,

Order at 29. For the reasons stated herein, that finding is erroneous. As such, the

District Court’s dismissal of Plaintiff’s claims under Section 15 was likewise in

error. See New Jersey Carpenters Health Fund v. Royal Bank of Scotland Grp., PLC,

709 F.3d 109, 120 n.4 (2d Cir. 2013) (vacating decision to dismiss Section 15 claims

upon reversing dismissal of Section 11 and 12(a)(2) claims).

   V.     The District Court Erred in Denying Plaintiff at Least One
          Opportunity to Amend the Complaint



                                         43
           Case 23-301, Document 54, 06/07/2023, 3526377, Page51 of 87




      In opposing Defendants’ motion to dismiss, Plaintiff requested leave to amend

the Complaint to address any pleading deficiencies identified by the District Court.

JA-220, SA-029, Order at 29. The District Court denied this request, and dismissed

the Complaint with prejudice, because “Lead Plaintiff has not identified how further

amendment would address deficiencies in the FAC,” and because “[t]he statements

included in the FAC fail to state a claim under the Securities Act, and as such,

amendment would be futile.” JA-221, SA-030, Order at 30. If this Court agrees that

the Complaint fails to plausibly allege misleading statements or omissions, the

District Court’s denial of leave to amend should be reversed for two reasons.

      First, this Circuit has held that requiring plaintiffs to preemptively state their

grounds for amendment prior to receiving a dismissal order is grounds for reversal,

as it fails to “hew to the liberal standard set forth in Rule 15, which states that ‘[t]he

court should freely give leave [to amend] when justice so requires.’” Loreley Fin.

(Jersey) No. 3 Ltd. v. Wells Fargo Sec., LLC, 797 F.3d 160, 190 (2d Cir. 2015)

(quoting FED. R. CIV. P. 15(a)(2)).

      Second, some of the deficiencies identified by the District Court could be

cured with additional alleged facts. For example, the District Court found that “the

FAC has not plausibly alleged that the 1Q21 financial results were finalized by the

date of the IPO,” JA-215, SA-024, Order at 24, and that “[t]he FAC fails to plead

how any omission from the Registration Statement of a further explanation of



                                           44
           Case 23-301, Document 54, 06/07/2023, 3526377, Page52 of 87




Waterdrop’s reasons for closing Mutual Aid significantly altered the mix of

information available to reasonable investors,” JA-219, SA-028, Order at 28. If this

Court agrees with that reasoning, Plaintiff could potentially cure these deficiencies

by alleging more explicitly the Q1:21 financial results were final by the date of the

IPO, and by alleging additional facts detailing how a reasonable investor would have

found the undisclosed information about the cessation of Mutual Aid to be important

to the assessment of the severity of the regulatory risk facing the Company when

deciding whether to invest. Because amendment would not be futile, the District

Court’s refusal to grant Plaintiff at least one opportunity to amend the Complaint is

error and should be reversed.

                                   CONCLUSION

      “Unlike poker where a player must conceal his unexposed cards, the object of

a proxy statement [like a registration statement] is to put all one’s cards on the table

face-up.” Mendell v. Greenberg, 927 F.2d 667, 670 (2d Cir. 1990). “In this case only

some of the cards were exposed; the others were concealed.” Id. If allowed to stand,

the District Court’s Order will promote a poker-like policy of concealment,

emboldening some issuers to fortify their offering prices by disclosing only

favorable financial results on the eve of an IPO, while simultaneously concealing

related, unfavorable data until after the IPO, using non-finality as an excuse. When

deciding whether to invest in IPOs, investors thus will be left to unfairly guess, based



                                          45
          Case 23-301, Document 54, 06/07/2023, 3526377, Page53 of 87




mainly on historical results alone, the existing unfavorable financial information

being concealed, while companies stack their registration statements with favorable

information. Such a policy would frustrate the “fundamental purpose” of the

Securities Act: “a philosophy of full disclosure” instead of “caveat emptor.” Basic

Inc. v. Levinson, 485 U.S. 224, 234 (1988).

      For the foregoing reasons, Plaintiff-Appellant respectfully submits that the

Order and Judgment be reversed and that this matter be remanded for further

proceedings.

DATED: June 7, 2023                           Respectfully submitted,

                                              KAHN SWICK & FOTI, LLC

                                              /s/ Kim E. Miller
                                              Kim E. Miller
                                              250 Park Avenue, 7th Floor
                                              New York, New York 10177
                                              Telephone: (212) 696-3730
                                              Facsimile: (504) 455-1498
                                              Email: kim.miller@ksfcounsel.com

                                              -and-

                                              Craig J. Geraci, Jr.
                                              1100 Poydras Street, Suite 960
                                              New Orleans, Louisiana 70163
                                              Telephone: (504) 455-1400
                                              Facsimile: (504) 455-1498
                                              Email: craig.geraci@ksfcounsel.com

                                              Counsel for Lead Plaintiff-Appellant
                                              Qi Mi and the Class



                                        46
          Case 23-301, Document 54, 06/07/2023, 3526377, Page54 of 87




                     CERTIFICATE OF COMPLIANCE

      This brief complies with the Second Circuit Local Rule 32.1(a)(4) which

requires that the principal brief contain no more than 14,000 words, because it

contains 11,221 words, exclusive of the sections that do not count towards the

limitation pursuant to Fed. R. App. P. 32(f). This brief complies with the typeface

requirement of Fed. R. App. P. 32(a)(5) because this brief has been prepared in a

proportionally spaced typeface using Times New Roman 14-point font.

                                      /s/ Kim E. Miller
                                      Kim E. Miller




                                        47
Case 23-301, Document 54, 06/07/2023, 3526377, Page55 of 87




                 SPECIAL APPENDIX
            Case 23-301, Document 54, 06/07/2023, 3526377, Page56 of 87




                                TABLE OF CONTENTS

                                                                                           Page
Opinion and Order of the Honorable Denise L. Cote
      Appealed From, dated February 3, 2023 .............................................. SA-001

Judgment of the United States District Court for the
     Southern District of New York, dated February 3, 2023 ..................... SA-031
        Case
      Case    23-301, DocumentDocument
           1:21-cv-07683-DLC   54, 06/07/2023, 3526377,
                                         58 Filed       Page57
                                                  02/03/23 Pageof187
                                                                   of 30



UN ITED STATES DI STRI CT COURT
SOUTHERN DI STRI CT OF NEW YORK
---------------------------------- --- x
                                                        21cv7683 (DLC)
SIDNEY SANDOZ , individually and on
behalf of all others similar ly
situated,                                             OP I NI ON AND ORDER

                          Plaintiff ,

                    -v-

WATERDROP INC . et al . ,

                          Defendants .

------------------------------------- x


APPEARANCES:

For Lead Plainti ff:
Kahn Swi ck & Foti, LLC
Kim El a ine Miller
250 Park Avenue
Suite 2040
New York , NY 10177

For the de f endants Waterdrop Inc. , Cogency Gl obal       Inc . , and
Colleen A. Devri es :
Quinn Emanuel
Mi c h ae l Barry Carlinsky
51 Madison Avenue , 22nd Floor
New York , NY 10010

For defendants Gol dman Sachs (Asia) L . L . C . , Morgan Stanl ey         &   Co
LLC , and Bo f A Securi t i es , Inc. :
O ' Me l veny & Myers LLP
Jonathan Rosenberg
Abby F. Rudzin
7 Times Square
New York , NY 10036

DEN I SE COTE, District Judge :

     In thi s putati ve securi t i es c l ass act i on , investors in

Waterdrop Inc .   ("Waterdrop" ) , a Chinese insurance company,




                                                                      SA-001
         Case
       Case    23-301, DocumentDocument
            1:21-cv-07683-DLC   54, 06/07/2023, 3526377,
                                          58 Filed       Page58
                                                   02/03/23 Pageof287
                                                                    of 30



allege that there were material omi ssions in Waterdrop ' s

registration stateme nt and prospect u s       (collective l y , the

"Registration Statement ") associated with its initial p ubli c

o ffering in May 2021 ("IPO").        The crux o f the p laintiff' s

claims are that Waterdrop faile d to warn investors o f the risks

associated with the regulatory environment in China, discl ose

the extent o f the costs and expenses Waterdrop was incurring at

the time of its IPO, and discl ose certain information about its

deci s i on to close a segment of its business .

      The de fendants who have appeared have moved to d i smi ss the

compl aint under Rule 12 (b) (6) , Fed . R . Ci v . P .    The motion i s

granted .

                                 Background

      The f o llowing fact s are drawn fr om the fir st amended

compl aint ( "FAC") and documents on which it relies.            For the

purposes o f deci d ing this motion, the Lead Plaintiff' s fact ual

a llegations are accepted as true, and all reasonable inferences

are drawn in the Lead Plaintiff's favor .

I.   Waterdrop

     Waterdrop -- "Shuidi" in Chinese -- i s a Chinese insurance

technology p l atform .   Prior to the events giving r i se to this

act i on , Waterdrop consisted o f three di fferent segments : a

mutual a i d p l atform ("Mutual Aid"), a medi cal crowdfund i ng

p latform, and an insurance marketplace.

                                       2

                                                                       SA-002
         Case
       Case    23-301, DocumentDocument
            1:21-cv-07683-DLC   54, 06/07/2023, 3526377,
                                          58 Filed       Page59
                                                   02/03/23 Pageof387
                                                                    of 30



     Waterdrop launched Mutual Aid in 2016 .           Through the Mutual

Aid p latform, ind i v i d ual s would contribute small amounts o f

money to Mutual Aid monthly .        The Mutual Aid fund would pay

medical expenses o f eligible be nefi c iaries .       Mutual Ai d d i d not

generate s ignificant revenue f or Waterdrop , b ut it a llowed

Waterdrop to educate its u sers about health ins ura nce a nd to

market ins urance produ cts to them .

     Later in 2016 , Waterdrop started a crowdfund ing p l atform

a nd acquired a commerci a l ins ura n ce company .     The crowdfund ing

p latform allowed u sers to make don at ions to cover others '

medical expenses .     Like Mutual Aid , this p l at f orm d i d n ot

generate much revenue for Waterdrop , but it generated c u stomer

leads f or its marketing o f commerci a l ins ura n ce .

     Thro ugh its commercial ins urance compan y , Waterdrop sol d

ins urance to con s umers and earned revenue through commi ss i ons on

the product s it sol d .    The interactio n o f the three segme nt s o f

Waterdrop was critical to its b u s iness model : it u sed Mutual Aid

a nd the crowdf und ing p l atform to dri ve c u stomers to its

commercial ins ura n ce compan y .

     China has regulated o nline ins ura n ce companie s s u c h as

Waterdrop more he avil y in rece nt years .       They are regul ated by

the China Ba nking a nd Ins ura n ce Regulatory Commi ss i o n ("CB I RC")

On September 3 , 2020 , the CBRI C p ub lis hed a st udy that raised

con cern s about o nline mutual a i d plat f orms a nd con c luded that

                                       3

                                                                        SA-003
          Case
        Case    23-301, DocumentDocument
             1:21-cv-07683-DLC   54, 06/07/2023, 3526377,
                                           58 Filed       Page60
                                                    02/03/23 Pageof487
                                                                     of 30



t h e CBI RC h ad to " crack down o n illegal ins u ran ce act i v i t i es . "

Th e st udy specificall y c i ted Waterdrop as a n exampl e .               On

December 7 , t h e CBIRC i ss u ed Regul atory Meas u res for t h e

Supervi s i o n o f Intern et Ins u ran ce Bus iness ("Regul atory

Meas u res " ).   The Regul atory Meas u res inc luded a license

requi reme n t f or ins u ran ce b u s inesses .

       Some days l at e r , o n De c e mbe r 18 , t he CBIRC p ub lis hed a

c i rcul ar o n Cases of Infr ingeme n t of Con s umer Ri g h ts a nd

Interests ( " December Ci rcul ar") .          Th e December Ci rcul ar

a nno unced a CBIRC invest i gat i o n o f o nline ins u rance compani es

t h at advert i sed d i scounted fi rst mon t h premiums wh e n t h at

premium' s cost was act u a ll y d i stri b u ted over l ater premiums .

Th e December Ci rcul ar i de n t ified Waterdrop as a compan y t h at

empl oyed t hi s practi ce .

      On January 11, 202 1, t h e CBI RC p ub lis h ed t h e Draf t Ci rcul ar

o n Furt he r Re g ul at ing Online Life Ins u ran c e Bu s iness ("Jan uary

Draft Ci rcul ar").      I f e n acted , t h e January Draft Circul ar woul d

h ave i mposed more requi reme n ts o n o nline ins u ran ce compani es .

Vi o l at i o n s of t h ose requi reme n ts were to be invest i gated and

p u rs u ed t h roug h e nforceme n t act i o n s by t h e CBIRC .

       Fo llowing t h ese regul atory c h a nges , in March 202 1 ,

Waterdrop d i scon t inued t h e Mu t u a l Ai d p l at f orm .      Al most a ll

oth er mu t u a l a i d p l at f orms in China a l so ceased operati o n s .        Two

con f i de n t i a l wi t n esses ( " CW") empl oyed at Waterdrop stated that

                                           4

                                                                                 SA-004
          Case
        Case    23-301, DocumentDocument
             1:21-cv-07683-DLC   54, 06/07/2023, 3526377,
                                           58 Filed       Page61
                                                    02/03/23 Pageof587
                                                                     of 30



t h e cessati o n o f Mu t u a l Ai d was d u e to t h e increased regul atory

scru t iny.     CWl was a c u stomer servi ce staff member f rom November

2019 to October 2021 , and CW2 was a Fi nance Bus i ness Partner

f rom April 2020 to March 202 1 .

       Around t h e same t i me , Waterdrop was prepari ng i ts I PO .       It

was reported in t h e medi a t h at t h e CB I RC opposed Waterdrop goi ng

p ub lic a nd t h at t hi s h ad de l ayed Waterdrop ' s IPO .   Waterdrop

deni ed t h ose c l a i ms .

       On April 16 , 2021 , Waterdrop f iled i ts regi strati o n

stateme n t o n Form F- 1, whi c h was amended and decl ared e ff ecti ve

o n May 6 .     On May 7 , Waterdrop fil ed a prospect u s o n Form 424B4 ,

whi c h incorporated and f ormed part of t h e regi strati on

stateme n t .    Th e docume n ts are re f erred to collecti ve l y as the

Regi strati o n Statemen t .    Waterdrop sol d 30 millio n Ameri can

Depos i tory Sh ares ( " ADS") at $12 per ADS in i ts I PO .

       On Jun e 17 , 2021 , Waterdrop i ss u ed a press re l ease

reporting its f i nanci a l res ul ts for t h e f i rst q u arter of 2 021

( " 1Q2 1 ").   Waterdrop reported t h at costs a nd expe n ses h ad

increased 75% year to year a nd t h at t h e compan y had suff ered an

operating l oss .       Later , in Aug ust , medi a reported a regul atory

"crack down" o n Chinese techno l ogy compani es across a vari ety of

sectors, especi a ll y t h ose t h at h ad compl eted U. S . I POs .

Waterdrop was expected to be a target o f t h e crackdown .




                                        5

                                                                        SA-005
           Case
         Case    23-301, DocumentDocument
              1:21-cv-07683-DLC   54, 06/07/2023, 3526377,
                                            58 Filed       Page62
                                                     02/03/23 Pageof687
                                                                      of 30



       On September 8 , Waterdrop a n nou nced i ts fi nanci a l resul ts

f or t h e second q u arter o f 2021 , wh ich stated t h at operating

costs continued to acce l erate .          On September 1 3 , t h e pri ce o f

Waterdrop ' s ADSs decreased to $3 per s h are .            Wh en t hi s action

was comme n ced o n September 1 4 , Waterdrop ' s ASDs were pri ced at

$1. 54 per s h are .

       On November 3 , t h e CB I RC announced t h at Waterdrop was be i ng

f i ned RMBl mi l l i on 1 f or t h e advert i s i ng act i v i t i es detailed in

t h e December Ci rcul ar .     Later t h at mont h, Waterdrop a nnoun ced

i ts fin anci a l resul ts f rom t h e t hi rd quarter o f 202 1.

Th ereaf ter , a n a l ysts l owered t h e pri ce targets f or Waterdrop

ADSs and noted t h e i mpact t h at i ncreased regul atory scruti ny and

hig h er market ing expenses were h avi ng on Waterdrop .

II.     Th e Regi stration Statemen t

        Th e c l a i ms rest on t h e adequacy o f t h e d i scl os u res i n the

Regi strati on Statemen t .       Pertine n t materi a l   f rom t h e

Regi stration Statement i s quoted be l ow .           Th e statements upon

whi ch t h e p l a i nt i ff re lies are hig hlig h ted i n bol d . 2     An y

emph as i s f rom t h e FAC i s i ndi cated by underli n i ng .          The

stateme n ts princ i pall y appear i n t h e f o llowing secti o n s o f the

Registrat i on Statement : Prospectus Summary ; Ri sk Factors ; and



1   Renmi nbi   (" RMB " ) i s the o ffi c i a l currency o f Chi na .

2 When the same statement i s repeated wi t hi n the Regi strati on
Statement , the statement i s reci ted onl y once in t hi s Opi nion .

                                           6


                                                                                 SA-006
            Case
          Case    23-301, DocumentDocument
               1:21-cv-07683-DLC   54, 06/07/2023, 3526377,
                                             58 Filed       Page63
                                                      02/03/23 Pageof787
                                                                       of 30



Man a gement ' s Di scu ss i o n a nd An a l ys i s o f Fina n c i a l Cond i t i on and

Re s u l ts o f Ope rat i o n s   ( " An a l ys i s o f Fina n c i a l Cond i t i o n" ) .    The

stateme n ts upon whi c h t h e p l a int iff re lies t h at appear in other

secti o n s are ind i cated according l y.

        A.      Prospe ct u s Summary

        The Regi strati o n State ment b e g ins wi t h a s ummary o f

Wat e rdrop ' s b u s iness model, r i s k s associ at e d wi t h t he I PO , and

rece n t deve l opme n ts in Waterdrop ' s f ina n ces .               Waterdrop n otes

t h at i t " face [d ] uncertaint i es re l at ing to t h e c h a nge of

r e g ul atory regi me . "

        The Regi strati o n State ment a l so d e scri b e s c e rtain 1Q21

r e s ul ts .   I t state s :

        We have a c hieved a s o lid business growth in the first
        quarter of 2021 . The [first year premium ( "FYP" )]
        generated through Waterdrop Insuranc e Marketplace
        reached RMB4 , 469 million for the first quarter of
        2021 , demonstrating a 14.4% increase from the fourth
        quarter of 2020 or a 42 . 7 % increase from the same
        period of 2 0 2 0.

        We con t inued to divers i fy o u r c u stomer acquisiti o n
        c h a nne l s . In t h e f i rst q u arter o f 202 1, 54 . 5% o f t h e
        FYP ge n erated v i a Waterdrop I n s u ran ce Marketpl ace was
        sou rced f rom t hi rd- party tra ffi c c h a nne l s , whil e 34 . 4%
        a nd 11 . 0% o f t h e FYP ge n erated v i a Waterdrop Ins u ran ce
        Mark etpl ace was sou rced f rom n at u ral tra ffi c a nd
        r e p e at p u rch as e, a nd int e r n a l tra ffi c , r e spe cti v el y .

        Th e Regi strati o n Statemen t ' s s ummary a l so refers to the end

o f Mu t u a l Ai d :

        In light of our expanded business and prospec t [ ~ ] ,
        the inc reased rec ognition o f o ur brand , and the latest
        market develo pment , we have dec ided t o f ocus o n o ur

                                                 7

                                                                                             SA-007
         Case
       Case    23-301, DocumentDocument
            1:21-cv-07683-DLC   54, 06/07/2023, 3526377,
                                          58 Filed       Page64
                                                   02/03/23 Pageof887
                                                                    of 30



     core businesses and offer enhanced protection to our
     users . Our Waterdrop Mutual Aid servi ce histori call y
     served as a sce n ari o f or educating a nd f amiliarizing
     millions o f users with the importance o f insurance
     coverage . In March 2021, we ceased the operati on of
     the Waterdrop Mutual Ai d business , offering to migrate
     a ll mutual a i d parti cipants as insurance policyh o l ders
     of our Waterdrop Insurance Marketplace servi ce .

      Last l y , the summary inc ludes fin anci a l data that explained

that operating costs and expenses h ad increased fr om RMB426,313

in 2018, to RMBl,705,445 in 2019, to RMB3,524,194 in 2020 .                 A

s ignificant port i on of the increased costs and expenses came

from increases in sales and marketing expenses , which increased

fr om RMB184,943 in 20 1 8 , to RMBl,056,494 in 2019, to

RMB2,130,535 in 2020.

     B.       Risk Factors

     Waterdrop details several risks in the Registration

Statement .     First , it addresses risks related to its operati ng

l osses:

     We have a history of net losses and negative cash
     flows from operating activities , which may continue in
     the future.

            We anticipate that our operating costs and
     expenses will increase in the foreseeable future as we
     continue to grow our business, acqui re new users,
     invest and innovate in our technology infrastructure
     and further deve l op our product and servi ce offering
     and increase brand recognit i on . Any of these efforts
     may incur significant capital investment and recurring
     costs, have different revenue and costs structures ,
     and take time to achieve profitability.

(Underlining reflects emph as i s added by p l a int iff.)



                                       8

                                                                       SA-008
          Case
        Case    23-301, DocumentDocument
             1:21-cv-07683-DLC   54, 06/07/2023, 3526377,
                                           58 Filed       Page65
                                                    02/03/23 Pageof987
                                                                     of 30



      The Regi strati o n Statemen t t h e n expl a i n s t h e r i sks stemmi ng

f rom t h e regul atory e nv i ronme n t i n Ch i n a 3 :

      We face uncertainties relating to the change in
      regulatory regime .

      We operate in a highly regulated industry in China ,
      and the regulatory regime continues to evolve . The
      China Banking and Insurance Regulatory Commission, or
      the CBIRC , has extensive authority to supervise and
      regulate the insurance industry in China.    Since the
      online insurance industry in China is evolving
      rapidly , the CBIRC has been enhanc ing its supervision
      over this industry in recent years , and new laws ,
      regulations and regulatory requirements have been
      promulgated and implemented from time to time . We
      face challenges brought by these new laws, regulations
      and regulatory requirements , as well as significant
      uncertainties in the interpretation and application
      thereof . Moreover , there exist uncertainties as to
      how the regulatory environment might change .

      On Dec ember 14 , 2020 , the CBIRC published the
      Regulato ry Measures for Online Insurance Business , or
      the Regulatory Measures , which became effective on
      February 1 , 2021.   Shuidi Insuranc e Brokerage conducts
      online insurance brokerage business in the [People ' s

3  A separate secti on o f the Regi strati on Statement t i t l ed
I nd u stry d i scu sses t h e h eal t h ins u ran ce sector in China :

      [The] growth of health insurance sector has been
      supported by the Chinese government in rec ent years .
      I n a n a nno unceme n t made in January 2020, t h e CBI RC h as
      set t h e 2025 total h eal t h ins u ran ce premium target at
      RMB2 trillio n (compared wi t h RMB707 b illio n in 2019) .
      A seri es o f regul atory polic i es h ave bee n introdu ced
      s ince 20 1 4 , a iming to promote t h e commerci a l h eal t h
      ins u ran ce deve l opme n t from mu lt i ple dime n s i o n s .
      Accordi ng to t h e iResearch report , t h e f ollowi ng
      recent regulatory developments are expec ted to have
      positive impac ts on China ' s health insurance
      industry[ , including a]ccelerating the growth of the
      health insurance industry , and encouraging the growth
      of c haritable medical donations and medical mutual
      aid .

                                            9


                                                                          SA-009
          Case
       Case     23-301, DocumentDocument
            1:21-cv-07683-DLC    54, 06/07/2023, 3526377,
                                          58 Filed        Page66
                                                   02/03/23  Pageof1087of 30



      Republic of China ("PRC" )] and is subject to the
      Regulatory Measures . The Regulatory Measures
      significantly changes regulatory regime for online
      insurance business in various aspects.

      After detailing t h e requi reme n ts in t h e Regul atory

Meas u res , t h e Regi strati o n Stateme n t con t inues :

      It might be costly for us to stay in compliance with
      the heightened requirements and standards in the
      Regulatory Measures . The Regulatory Measures sets out
      a ramp-up process allowing market participants to
      achieve full compliance in phases until February 1 ,
      2022; we, however , cannot assure you that we can
      timely adjust our current business operations to
      achieve and maintain full compliance.

      The regulatory framework in China's insurance industry
      is evolving and undergoing significant changes.
      Further development of regulations applicable to us
      may result in additional restrictions on our business
      operations. We may have to adjust our business
      practice and operations to comply with the
      continuously changing regulatory requirements . For
      example, in January 2021 , the CBIRC published the
      draft Circular on Further Regulating Certain Issues on
      Internet Life Insurance Business, or the Draft
      Circular, for comment among insurance industry
      participants. The Draft Circular requires that each
      installment of premium of certain insurance products
      less than one year term , such as accident insurance
      and health insurance shall be equal . We provide our
      consumers the option of monthly payments and the first
      month payment of premium of certain insurance products
      is typically lower than subsequent installments. We
      may be required to change such payment regime to
      comply with the Draft Circular , if the Draft Circular
      is enacted.

Th e Regi strati o n Statemen t goes o n to say :

      As o f t h e date o f t hi s prospect u s , t h e Dra f t Ci rcul ar
      i s s t ill pe nd ing approval a nd h as n ot come into
      e ff ect .  I t rema ins uncertain wh e n a nd h ow t h e Dra f t
      Ci rcul ar would come into e ff ect , and wh eth er and h ow
      CBIRC would promulgate re l evan t r ul es re l ated to u s .

                                        10

                                                                             SA-010
         Case
      Case     23-301, DocumentDocument
           1:21-cv-07683-DLC    54, 06/07/2023, 3526377,
                                         58 Filed        Page67
                                                  02/03/23  Pageof1187of 30



     The attent i on o f o u r management team could be d i verted
     to t h ese e ff orts to cope wi t h an evol v i ng regul atory
     or competiti ve e nv i ronme n t . Meanwhil e , staying
     compliant wi t h t h e restri cti on may resul t i n
     l imi tat i on to o u r business scope , limitat i on to o u r
     product and servi ce offerings , and reduction in our
     attract i on to consumers. As a resul t , our bus i ness
     a nd resul ts of operati ons mi g h t be materi a ll y and
     adverse l y a ff ected .

     Expandi ng on t h e regulatory envi ronment , t h e Regi strati on

Statement cautions:

     The administration , interpretation and enforcement of
     the regulations applicable to us are evolving and
     involve uncertainties . We may not be able to stay in
     constant compliance with the rapidly evolving
     regulations.

            [W]e have from time to time been subject , and
     are likely again in the future to be subject to PRC
     regulatory inquiries , inspections and investigations .
     If any non-compliance incidents in our business
     operation are identified , we may be required to take
     certain rectification measures in accordance with
     applicable laws and regulations, or we may be subject
     to other regulatory actions such as administrative
     penalties.

     Under a di ff ere n t subh eadi ng i n t h e Risk Factors section ,

t h e Regi stration Statement expl ains t h e risks associ ated with

endi ng Mutual Ai d :

     We f ace reputat i onal, monetary , and l egal r i sks i n
     re l at i on to our d i sconti nuat i on o f t h e Waterdrop
     Mutual Ai d business .

     In March 2021 , we ceased the operation of our
     Waterdrop Mutual Aid platform in order to focus on our
     core businesses and offer enhanced protection to our
     users . We h ave offered to mi grate a ll mutual a i d
     parti c i pants as i nsurance policyhol ders o f our
     Waterdrop I nsurance Marketpl ace servi ce .
     Despi te our good i n te n t i o n, our mutual a i d

                                       11

                                                                         SA-011
           Case
        Case     23-301, DocumentDocument
             1:21-cv-07683-DLC    54, 06/07/2023, 3526377,
                                           58 Filed        Page68
                                                    02/03/23  Pageof1287of 30



        par t i c i pan ts o r g eneral p ub lic may v iew o u r act i o n as
        adve rs el y a ffe cting t h e act u a l or expected interests
        o f mu t u a l a i d parti c i pan ts , whi c h may in t u r n h arm o u r
        r e p u tat i o n.  In t he worst sce n ari o , parti c i pan ts may
        c h oose to bring compl a ints a nd l aws ui ts against u s .
        Al t h o ug h we were con tract u a ll y permi tted to terminate
        t h e mut u a l a i d p l a n s a n y t ime in o u r d i screti o n,
        l aws ui ts may n evert h e l ess be t ime con s uming a nd
        costl y , a nd d i stract o u r ma n ageme n t ' s atte n t i o n.

        Th e Regi stration Statemen t a l so warn s o f r i sks re l at i ng to

r i s ing t hi rd- party adve rt i s ing costs :

        We l everage t hi rd- party u ser acqui s i t i o n c h a nne l s to
        bring in some o f n ew u sers to o u r p l at f orms a nd may
        inc u r s ignifican t costs o n paying o u r u ser acqui s i t i on
        c h a nne l s servi ce f ees .

                   [W] e h ave inc u rred s i g nifi can t expe n ses o n
        payi ng t hi rd- party u s e r acqui s i t i o n c h a nnel s market ing
        f e e s . If c e rtain o f exi sting t hi rd- party u s e r
        acqui s i t i o n c h a nne l s requi re hig h er rates o f market i ng
        fees or we f a il to n egot i ate favorab l e terms wi t h t h em
        or find n ew t hi rd- party u ser acqui s i t i o n c h a nne l s , o u r
        cost o f u ser acqui s i t i o n may increase , a nd o u r res ul ts
        o f operati o n s may be adverse l y a ff ected .

        C.      An a l ys i s o f Fina n c i a l Cond i t i o n

        Und e r t he s ub he ading t i t led Expan s i o n o f Con s ume r Bas e, the

Regi strati o n Statemen t speaks to Waterdrop ' s h istory of consumer

acqui s i t i o n :

       Ou r ins u ran ce con s umers mainl y come f rom t h ree
       sou rces . Fi rst l y , our medical crowdfunding operation
       direct [sic] substantial traffic to our insurance
       marketplac e. Approximately 46.5%, 23.0% and 13.0% of
       the FYP generated through Waterdrop Insuranc e
       Marketplac e f o r 2 018 , 2 019 and 2020 , respec tively , was
       s o urc ed fro m traffi c fro m o ur medical crowdfunding
       platfo rm. Histo ri c ally , o ur mutual aid operation also
       direc ted traffi c to our insuranc e marketplac e . We see
       the internal s o urc e o f consumer traffi c as an
       impo rtant and unique consumer a c quisitio n reso urc e t o

                                                12

                                                                                 SA-012
         Case
      Case     23-301, DocumentDocument
           1:21-cv-07683-DLC    54, 06/07/2023, 3526377,
                                         58 Filed        Page69
                                                  02/03/23  Pageof1387of 30



     us, and i n addi t i on we cons i der thi s cohort o f
     consumers wi t h stronger awareness o f i nsurance
     protecti on a nd stronger i nterest in t h e content and
     product o ff eri ngs on our p l at f orms , and more l oyal to
     our servi ces .

     In order to continuously diversify our consumer
     acquisition channels, we also cooperate with
     other third-party traffic channels to grow our
     insurance consumer base.    In 2018, 2019 and 2020,
     approximately 1 . 9%, 34.8% and 44.9% of the FYP
     generated through Waterdrop Insurance Marketplace was
     sourced from third-party traffic channels ,
     respectively. We expect third-party traffic channels
     to play an important role in the future to support the
     rapid growth of our business.

      The Regi stration Statement a l so addresses Waterdrop ' s

operating costs :

     We have incurred significant costs and expenses in
     building our platform , growing our consumer base and
     developing capabilities in data analysis and
     technology. Our business model is highly scalable and
     our platform is built to support our continued growth .
     We expect our operating costs and expenses to decrease
     as a proportion of our revenues as we improve the
     operating efficiency of our platform and achieve more
     economies of scale.

     We expect our operating costs to increase in absolute
     terms as our scale of business grows. However , as we
     improve the operating efficiency of our platform and
     achieve more economies of scale , we expect our
     operating costs as a percentage of our net operating
     revenue will decrease in the foreseeable future.

(Underli n i ng re fl ects emph as i s added by p l a i nti ff. )

      Last l y , t h e Regi stration Statement e l aborates on

Waterdrop ' s deci s i on to termi nate Mutual Aid . 4       I t states , "We



4 Wi th respect to Mutu a l Ai d , the i ndex attached to the
Regi strati on Statement a l so states, "The Group has assessed and

                                        13

                                                                         SA-013
          Case
       Case     23-301, DocumentDocument
            1:21-cv-07683-DLC    54, 06/07/2023, 3526377,
                                          58 Filed        Page70
                                                   02/03/23  Pageof1487of 30



operated Waterdrop Mutual Aid between May 2016 and March 2021,

under which we generated management fee income as an operator. "

Di scuss i ng t hi s management f ee i ncome , i t cont i n u es :

      Starting from March 2021 , with the cessation of the
      Waterdrop Mutual Aid operation, the corresponding
      management fee income which accounted for 3 . 6% of
      total operating revenue in 2020, will no longer be a
      revenue stream for us in 2021 .

      On March 26 , 2021 , we announced t h e termi nat i on o f t h e
      Waterdrop Mutual Ai d bus i ness by t h e end o f March
      2021 . In connection with this business adjustment , we
      voluntarily undertook to cover mutual aid
      participants' medical expenses arising from medical
      conditions diagnosed by March 31, 2021 that would have
      been covered by the ceased mutual aid plan, subject to
      certain procedural requirements and eligibility
      criteria. In addition, we also offered a one-year
      complementary health insurance policy to each
      participant with a similar coverage as the
      participant's original mutual aid plan.

      The estimated cost of medical expense coverage is
      RMB15 . 0 million (US$2 . 3 million) and the estimated
      cost of one-year health insurance coverage is RMB81.7
      million (US$12.5 million). RMB19.9 million (US$3 . 0
      million) will be accounted for as a reduction of
      management fee revenue previously recognized for each
      participant to the extent of the cumulative amount
      earned until March 26 , 2021 . RMB76 . 8 million (OS$11.8
      million) will be recorded as an expense .

III. Procedu ral History

       Thi s act i o n was fil ed o n September 1 4 , 202 1, as a putati ve

c l ass act i on .   I t brough t securi t i es f raud c l a i ms against




concluded that the cessation of the mutual aid platform
operation is a non-recognized subsequent event given the
cessation decision is made in 2021 following recent industry
environment changes."

                                         14

                                                                            SA-014
             Case
          Case     23-301, DocumentDocument
               1:21-cv-07683-DLC    54, 06/07/2023, 3526377,
                                             58 Filed        Page71
                                                      02/03/23  Pageof1587of 30



Waterdrop and certain o f i ts o ffi cers and d irectors 5 ; Cogency

Gl obal    Inc.   ("Coge n cy" ) , Waterdrop ' s a u t h ori zed U. S .

representat i ve at t h e t ime of t h e IPO; Colleen Devri es , a seni or

v i ce pres i dent at Cogency ; and s ix underwriters o f Waterdrop ' s

IPO:      Gol dman Sach s   (As i a) LLC , Morgan Stanl ey      &   Co LLC , BofA

Securi t ies , Inc . , China Merch ants Secu r i t ies        (HK) Co . Limi ted ,

CLSA Limi ted , and Ha i tong International Securi t ies Company

Limi ted (th e "Underwriter Defendants") .              Th e putative c l ass i s

composed of investors wh o purchased Waterdrop ADSs pursuant to

t he Regi strati on Statement .

       On December 8 , Qi Mi was appointed Lead Plaint iff pursuant

to t he Pri vate Securi ties Li t igat i on Re f orm Act of 1995

("PLSRA") , 15 U. S . C . § 78u- 4 (a) (3).        The Lead Pl a int iff fil ed

t h e FAC o n February 21, 2022 .          The FAC a lleges that (1) the

de fendants v i o l ated§ 11 o f t he Securi t ies Act o f 1933

("Securi t ies Act " ) , i d . § 77k , a nd (2) a ll de fendan ts except the

Underwri ter Defendants and Devri es viol ated§ 15 of t h e

Securi t i es Act , i d. § 770 .       The defendants who h ave been served

moved to dismi ss the FAC on April 22 . 6             The motion became fu lly




5 The individual defendants include Peng Chen, Waterdrop ' s CEO
and Ch a irman ; Kangping Shi, Waterdrop ' s CFO ; and Waterdrop
directors Nina Zh ou, Kai Huang , Haiyang Yu, Yao Hu, and Guang
Yang.

6As o f the date o f thi s Opi n i on , de f endants Chi na Merchants
Securi t i es (HK ) Co. Limi ted, CLSA Limi ted, and Ha i tong

                                           15

                                                                             SA-015
           Case
        Case     23-301, DocumentDocument
             1:21-cv-07683-DLC    54, 06/07/2023, 3526377,
                                           58 Filed        Page72
                                                    02/03/23  Pageof1687of 30



s ubmi tted o n J ul y 2 1.      Thi s case was reass i g n ed to t hi s Court on

August 1 7 .

                                        Disc ussio n

        To s u rvi ve a mot i o n to d i s mi ss f or f a ilure to state a

c l a im, t h e comp l a int "must p l ead e n o ug h f acts to state a c l a im

to re l ie f t h at i s p l a u s i b l e o n i ts f ace . "   Gree n v . Dep ' t o f

Ed u c . o f t h e Ci t y o f New York , 1 6 F . 4th 1 070 , 1076- 77 (2d Ci r .

2021)    (qu oting Be ll At l. Corp . v . Twombly, 550 U. S . 544 , 570

(2007)) .      In secu r i t i es f raud act i o n s , a cou rt may a l so cons i der

" a n y wri tte n instrume n t attach ed to t h e compl a int , statements or

docume n ts i n corporated into t h e compl ai n t by re f ere n ce , l egall y

requi red p ub lic d i scl os u re docume n ts fil ed wi t h t h e SEC, and

docume n ts possessed by or known to t h e p l a int iff upon whi ch i t

re lied in bring ing t h e s ui t . "        To ngue v . San o fi, 816 F . 3d 199 ,

209 (2d Ci r . 20 1 6)      (ci tat i o n omi tted) .

        "Secti o n 11 i mposes absolute liabili ty o n t h e i ss u er o f a

regi strati o n stateme n t if :        ( 1 ) t h e stateme n t contained an untrue

stateme n t o f a materi a l fact ,         (2) t h e stateme n t omi tted to state

a materi a l    f act requi red to be stated t h erein, or (3) t h e

omi tted informati o n was n ecessary to make t h e stateme n ts there i n

n ot mi s l eading ."     Set Capi tal LLC v . Credi t Sui sse Group AG , 996

F. 3d 64 , 84 (2d Ci r . 202 1 )        (ci tat i o n omi tted) .    "[A] p l a int iff



Intern at i o n a l Secu r i t i es Compan y Limi ted a nd t h e ind i v i d u a l
de f e ndan ts except f or Devri es h ave n ot bee n served .

                                              16

                                                                                  SA-016
           Case
        Case     23-301, DocumentDocument
             1:21-cv-07683-DLC    54, 06/07/2023, 3526377,
                                           58 Filed        Page73
                                                    02/03/23  Pageof1787of 30



bringing a c l a i m und e r Se cti o n 11 need n ot a llege scienter ,

r elia n c e , or l oss cau sati o n . "     Id .    (ci tat i o n omi tted) .   "Secti on

1 5 , in t u r n, creates liabili ty f or ind i v i d u a l s or e n t i t i es that

con trol a n y person liabl e " under§ 11.                 In re Morg a n Stanl ey

Info. Fund Sec. Li t ig., 592 F. 3d 347 , 358 (2d Ci r . 20 1 0)

(citation omi tted) .          " [ T]he s u ccess o f a c l a i m under [S ] ect i on

1 5 r elies , in part , o n a p l a int iff ' s abili ty to d e mon strate

primary liability" under§ 1 1 .               Id .

        A stateme n t or omi ss i o n " i s materi a l i f a reason abl e

investor would v i ew i t as s i g nifi can t l y a l teri ng t h e total mi x

o f informat i o n made availabl e . "         Set Capi tal LLC , 996 F . 3d at 84

(ci tat i o n omi tted).       Thi s i s a n " obj ect i ve , totali ty- of- t h e -

c i rcumstan ces inq ui ry . "      Fed. Ho u s. Fin. Ag e n cy f or Fed . Nat ' l

Mortg . Ass 'n v . Nomu ra Ho l d ing Am . , Inc . , 873 F . 3d 85 , 1 46 (2d

Ci r . 20 1 7) .      Cou rts mu st read regi strati o n stateme n ts "cover- to-

cove r " a nd "con s i d e r whe t he r t he d i scl os u r e s a nd

represe n tat i o n s , take n togeth er a nd in con te x t , would h ave

mi s l ed a reason abl e investor abou t t h e n at u re of t h e

secu r i t i es . "    In re ProSh ares Tru st Sec . Li t ig . , 728 F . 3d 96 ,

1 03 (2d Ci r . 20 1 3)      (ci tat i o n omi tted) .     Th e con text " inc lud e s ,

for exampl e , a ll facts re l ated to t h e stateme n t or omi ss i on , i ts

s u rround ing te x t , t h e o ff ering docume n ts , t h e secu r i t i es , the

stru ct u re o f t h e tran sacti o n, a nd t h e market in whi c h t h e

tran sacti o n occu rs . "      Nomu ra Ho l d ing Am . , Inc . , 87 3 F . 3d at 1 51 .

                                             17

                                                                                   SA-017
          Case
       Case     23-301, DocumentDocument
            1:21-cv-07683-DLC    54, 06/07/2023, 3526377,
                                          58 Filed        Page74
                                                   02/03/23  Pageof1887of 30



       "[W]he n a regi strati o n stateme n t warn s o f t h e e xact r i sk

t h at l ater materi a li zed , a Secti o n 11 c l a i m will n ot lie as a

matter o f l aw ."      I n re Prosh ares , 728 F . 3d at 1 02 (ci tat i on

omi tted).     "Under t h e bespeaks cau t i o n doctrine , a lleged

mi sreprese n tat i o n s in a stock o ff ering are immateri a l as a

matter o f l aw i f i t cannot be sai d t h at a n y reason abl e investor

could con s i der t h em i mportan t in lig h t o f adequate cauti o n ary

l angu a g e set o u t i n t h e same off ering . "        Rombach v . Ch a ng, 355

F. 3d 1 64 , 173 (2d Ci r . 2004)           (ci tat i o n omi tted) .

       The FAC a lleges t h at t h e Regi strati on Statement was

mi s l eading f or f a iling to d i scl ose ( 1 ) t h e exte n t o f Waterdrop ' s

expected operating l osses in 202 1,                (2) t h e i mpact o f t h e Chi nese

regul atory e nv i ronme n t o n Waterdrop ' s b u s iness , a nd (3) t h e

moti vat i o n behind a nd fin a n c i a l con sequ e n ces o f Waterdrop's

deci s i o n to c l ose Mu t u a l Ai d .     Each category o f omi ss i o n s will

be d i scussed in t u r n.      Th e de f e ndan ts con te nd t h at t h e

stateme n ts to whi c h t h e Lead Pl a int iff poi nts are accu rate and

t h at t h e Regi strati o n Statemen t accu rate l y d i scl oses t h e r i sks

o f invest ing in Waterdrop a nd t h e compan y ' s fin anci a l cond i t i on .

       Read in con text , t h e Regi strati o n Statemen t adequ ate l y

warn ed investors of t h e r i sks associ ated wi t h Waterdrop a nd i ts

I PO , inc lud ing t h e increase in operating costs , t h e regul atory

regime , a nd t h e c l os u re o f Mu t u a l Ai d .     Th e FAC h as f a iled to

p l ead t h at a n y o f t h e stateme n ts in t h e Regi strati on Statement

                                              18

                                                                                SA-018
             Case
          Case     23-301, DocumentDocument
               1:21-cv-07683-DLC    54, 06/07/2023, 3526377,
                                             58 Filed        Page75
                                                      02/03/23  Pageof1987of 30



were materi a ll y mi s l eading or t h at t h ere were materi a l omi ss i ons

f rom t h e Regi strati o n Statemen t .

I.        Operati ng Losses in 202 1

          The FAC a lleges t h at t h e Regi strati on Statement omi tted

materi a l informat i o n abou t Waterdrop ' s operati ng l osses .           It

a l leges t h at t h e Regi stration Statement f ai l ed to adequately

d i scl ose t h e i ncrease i n operati ng costs and expenses and that

t h e i ncreases were i n l arge part due to t h e d i sconti n u at i on of

Mu t u a l Ai d a nd t h e r i se i n t hi rd- party market i ng expenses .        The

FAC a lleges t h at t h e Regi strati on Statement was a l so mi s l eadi ng

f or f ai ling to d i scl ose t h e operating costs a nd l osses f rom

1Q2 1 .        Each c l a i m will be d i scussed i n turn .

          A.      Operating Expenses

          Th e Lead Pl a int i ff a lleges t h at the Regi strati on

Statemen t ' s stated expectati on t h at operati ng costs woul d

decrease as a perce n tage o f Waterdrop ' s n et operati ng revenue

"in t h e foreseeab l e future" as Waterdrop i mproved its "operati ng

e ffi c i ency , " was mi s l eadi ng because costs and expenses h ad

a l ready increased i n 1Q2 1 and cont i nued to i ncrease i n the

second quarter .           Th e FAC f urth er a lleges t h at t h e Regi strati on

Statement ' s statements t h at a " history of net l osses and

n egati ve cash fl ows f rom operati ng act i v i t i es           . may cont i nue

i n the fu t u re" and that Waterdrop "anti c i pate [s ] that [i ts ]




                                             19

                                                                              SA-019
          Case
       Case     23-301, DocumentDocument
            1:21-cv-07683-DLC    54, 06/07/2023, 3526377,
                                          58 Filed        Page76
                                                   02/03/23  Pageof2087of 30



operating costs and expenses will increase in the f oreseeable

future" were misleading f or the same reason .

       The c l a im t h at Waterdrop failed to accurate l y describe its

increase in operating expenses f a ils.          Repeatedly, the

Registration Statement states that operating costs and expenses

h ad increased a nd were expected to continue to increase "in the

f oreseeable future" as Waterdrop worked to expand its bus i ness .

The Registration Statement d i d not say nor s uggest that

operating costs would decrease in 2021 either absolut e l y or as a

perce nt age o f net operating revenue .

       The Registration Statement a l so inc luded a secti o n entitled

Speci a l Note Regarding Forward- Looking Statements in whi c h it

n oted :

       This prospect u s con tains f orward- l ooking stateme n ts
       that reflect o ur c urre n t expectati o n s a nd v i ews o f
       futu re events.            Known a nd unk n own risks,
       uncertainties a nd other f actors , inc lud ing those
       listed under "Risk Factors ," may cau se o ur act u a l
       res ul ts , performan ce or achieveme n ts to be materially
       different from t h ose expressed or imp lied by the
       f orward- l ooking stateme nts.            These f orward-
       l oo king stateme nt s invol ve vari o u s risks a nd
       uncertaint ies . Al t h o ugh we believe t h at o ur
       expectations expressed in t h ese f orward- l ooking
       stateme n ts are reason abl e , o u r expectati ons may l ater
       be f o und to be incorrect . Our act u a l results could be
       materially d ifferent from o u r expectations .

This warning regarding f orward- l oo king statements

specificall y i de ntifi ed "fina n c i a l cond itio n s , a nd results

o f operati o n s . "   This meaningful cau t i onary l a nguage



                                        20

                                                                           SA-020
            Case
         Case     23-301, DocumentDocument
              1:21-cv-07683-DLC    54, 06/07/2023, 3526377,
                                            58 Filed        Page77
                                                     02/03/23  Pageof2187of 30



r end e rs i mmat e r i a l t he state ments abou t expe ctati o n s f or

t he fu t u r e to whi c h t he FAC points .

        In oppos ing t hi s mot i o n, t h e Lead Pl a int i f f con cedes that

t h ese stateme n ts are f orward- l ooking b u t argu es t h at t h ey were

n ot accompani ed by meaning ful cau t i o n ary l a ng u age .         Thi s

argume n t     f a ils .   Expli c i t l y stating t h at t h e compan y a n t i cipated

ope rat ing costs to incre as e in t he f ore s ee able fu t u r e a l o ng wi th

t h e warnings abou t        f orward- l ooking stateme n ts were more t h an

e n o ugh to cau t i o n investors abou t Waterdrop ' s fin a n c i a l

cond i t i o n .

        B.         Increase in Thi rd- Party Mark eting Expe n ses

        Th e FAC a lle ge s t h at t h e Registrati o n Statement f a iled to

warn investors t h at Waterdrop h ad increased spe nd ing o n t hi rd-

party mar keting .          I t points to stateme n ts abou t Mu t u a l Ai d ' s

histori cal rol e in " d i rect [ing ] tra ffi c to [ t h e ] ins u ran ce

marke tpl ace" a nd i ts e xpe ctati o n t h at "thi rd- party tra ffi c

c h a nne l s " would " p l ay a n i mportan t rol e in t h e fu t u re to support

t h e rapi d growt h o f o u r b u s iness " a nd a lleges t h at t h ese

stateme n ts are mi s l eading f or omi tt ing t h at Waterdrop n eeded to

increase i ts spend ing o n t hi rd- party market ing becau se o f the

c l os u re of Mu t u a l Ai d.

        Th e Regi strati o n Stateme n t specificall y advi ses investors

o f t h e increase in t hi rd- party market ing expe n ses .            Under Ri sk

Factors , t h e Regi strati o n Statemen t expl a ins t h at Waterdrop

                                             21

                                                                                SA-021
           Case
        Case     23-301, DocumentDocument
             1:21-cv-07683-DLC    54, 06/07/2023, 3526377,
                                           58 Filed        Page78
                                                    02/03/23  Pageof2287of 30



"leverage [s ] t hi rd- party user acqui s i t i o n c h a nne l s to bring i n

some o f n ew u sers [s i c ] to o u r p l at f orms a nd may inc u r

s i gni f i cant costs on payi ng o u r u ser acqui s i t i o n c h a nne l s

servi ce f ees."        Th e Regi strati o n Statemen t adds t h at Waterdrop

h ad "inc u rred s i g ni f i can t expe n ses o n paying t hi rd- party u ser

acquisiti o n c h a nnels mark eting f ees " a nd warn s t h at t h ese costs

"may increase ."

       Th e fina n c i a l data reci ted in t h e Registrat i o n Statement

for t h e years 20 1 8 , 2019 , a nd 2020 demon strated t h e dramat i c

growth in t hi rd- party mark eting expe n ses each year .

Addi t i o n a l ly , t h e Regi strati o n Statemen t data a l so s h owed how

intern a l traffi c to t h e ins u rance mark etpl ace h ad been dri ven by

t hi rd- party c h a nne l s in rece n t years rath er t h a n Mu t u a l Ai d .

       In oppos i t i o n to t hi s mot i o n, t h e Lead Pl a int iff i g n ores

t h ese ampl e d i scl os u res in t h e Regi strati o n Statemen t .        Instead,

t h e Lead Pl a int iff maintains t h at t h e stateme n ts abou t t hi rd-

party mark eting were materiall y mi s l eadi ng becau se t h ey d i d not

inc lude a d i scu ss i o n of t h e econ omi c i mpact of Waterdrop ' s

c l os u re o f Mu t u a l Ai d .   Thi s argume n t i g n ores t h e descri pti on o f

Mu t u a l Ai d in t h e Regi strati o n Statemen t , inc lud ing t h e

descri pti o n of i ts histori cal rol e in edu cating millio n s of

Chinese con s umers abou t t h e i mportan ce o f ins u ran ce coverage .

Th e Regi strati o n Statemen t expl a ined t h at Waterdrop h ad c l osed

Mu t u a l Ai d a nd t h at a n increase in t hi rd- party market i ng

                                             22

                                                                                SA-022
          Case
       Case     23-301, DocumentDocument
            1:21-cv-07683-DLC    54, 06/07/2023, 3526377,
                                          58 Filed        Page79
                                                   02/03/23  Pageof2387of 30



expe n ses was we ll u nderway even be f ore i t c l osed Mu t u a l Ai d i n

March 2021 .         In s um, investors were s uffi c i e n t l y warn ed about

t h e i ncrease i n t h ird- party mark eting expenses and t h e i r

potenti a l i mpact on Waterdrop ' s fi nanci a l condi t i on .

       C.        1Q21 Fina n c i a l Res ul ts

       Final ly , t h e FAC a lleges t h at t h e Registrat i on Statement

was materi a ll y mi s l eadi ng f or f a ili ng to d i scl ose Waterdrop ' s

f i rst q u arter f i nanci a l res ul ts , speci f i call y its operati ng

l osses in 1Q21 .         Th e FAC a lleges t h at because t h e Regi strati on

Statemen t inc luded some i n f ormati on abou t t h e 1Q2 1

specifical ly , t h at Waterdrop h ad "achi eved a solid b usi n ess

growth i n t h e f i rst q u arter o f 2021 " -- i t was a materi a l

omi ss i o n f o r t h e Regi strati o n Statemen t to omi t t h at in 1Q2 1,

operating costs a nd expe n ses h ad increased more t h an 75% , when

meas u red year over year , a nd t h at t h e compan y experi e n ced an

operating l oss .         Th e FAC points to fin a n c i a l a n a l ysts ' reports

a nd t h e drop i n Waterdrop ' s s h are pri ce after t h e annou ncement

o f t h e 1Q21 f ina n c i a l res ul ts to demon strate t h e i mpact t hi s

omi ss i o n h ad o n investors .

       Thi s c l a i m f ai l s .   Fi rst , a compan y h as n o obligat i o n to

report i ts q u arterl y f ina n c i a l res ul ts before t h ey h ave been

fin a li zed .     Th e fi rst q u arter e nded o n March 31 , 202 1, and the




                                             23

                                                                              SA-023
           Case
        Case     23-301, DocumentDocument
             1:21-cv-07683-DLC    54, 06/07/2023, 3526377,
                                           58 Filed        Page80
                                                    02/03/23  Pageof2487of 30



Regi strati o n Statemen t was e ff ect i ve May 6 , 202 1 . 7          Waterdrop ' s

1Q21 fin a n c i a l res ul ts were a nno unced fi ve weeks l ater , o n June

1 7 , 2021.        Whil e t h e Lead Pl a i nt i ff notes t h at Waterdrop

inc luded some ge n eral stateme n ts abou t t h e growth in Waterdrop ' s

b u s iness in 1Q2 1 , t h e FAC h as n ot p l a u s i b l y a lleged t h at the

1Q2 1 f i n a n c i a l res ul ts were fin a li zed by t h e date o f t h e I PO .

       Si g nifi can t l y , as a l ready descri bed, t h e Regi strati o n

Statement made robu st d i scl os u res abou t i ts operating expenses .

Th e Regi strati o n Statemen t made n o promi ses abou t Waterdrop's

1Q2 1 fin a n c i a l cond i t i o n, stated t h at operati ng costs h ad been

increasing over t h e past t h ree years , a nd warn ed t h at t h ey were

like l y to increase.          Th e FAC h as n ot p l a u s i b l y a lleged t h at a

reas o n abl e investor would be mi s l ed abou t Waterdrop ' s f inanci a l

cond i t i o n g i ve n t h ese d i scl os u res .

II .   Regul atory Env i ronme n t in China

       Th e FAC a lleges t h at Regi strati o n Statemen t con tained

mi s l eading statements and omi ss i o n s regarding Chi na ' s regul atory

e nv i ronme n t    for compani es like Waterdrop .         Th e FAC points to

stateme n ts in t h e Regi strati o n Statemen t t h at " t h e growth o f the

h eal t h care ins u ran ce sector h as bee n s upported by t h e Chi nese

governme n t " a nd t h at "recen t regul atory deve l opme n ts are




7  The Regi strati on Statement i ncl udes t h e prospectu s , whi c h was
f iled o n May 7 , 202 1 a nd incorporated into t h e regi strati on
stateme n t .

                                              24

                                                                                 SA-024
           Case
        Case     23-301, DocumentDocument
             1:21-cv-07683-DLC    54, 06/07/2023, 3526377,
                                           58 Filed        Page81
                                                    02/03/23  Pageof2587of 30



expected to h ave pos i t i ve impacts o n China ' s h eal t h i ns u rance

ind ustry ."      Th e FAC a lleges t h at t h ese stateme n ts painted a

mi s l eadi ngl y pos i t i ve p i ct u re o f t h e regul atory envi ronment .

Addi t i o n a ll y, t h e FAC asserts t h at t h e Regi strati o n Statement ' s

descri pti o n o f t h e regul atory regime was mi s l eadi ng f or f a ili ng

to me n t i o n t h e December Ci rcul ar ; to give a more detailed

d i scu ss i o n o f t h e January Ci rcul ar ; a nd to expl a in t h at

Waterdrop was being investigated p u rs u ant to t h e December

Ci rcul ar at t h e t ime o f t h e I PO .

       These c l a ims f a il .   The stateme n t abou t t h e h eal t h

ins u ran ce regul at i o n s to whi c h t h e FAC points i s a descri pti on

o f t h e h eal t h ins u ran ce sector ge n erall y , a nd not a descri pti on

o f t h e o nline ins u ran ce ind ustry in whi c h Waterdrop operates .

The Regi strati o n Stateme n t repeatedl y advi ses investors o f the

r i s k s to Waterdrop ' s b u s iness posed by t h e Chinese regul atory

regi me .     For exampl e , i t states , "We f ace uncertaint i es re l at i ng

to t h e c h a nge in regul atory regi me . "     I t describes t h e

Regul atory Meas u res a nd t h e January Draf t Ci rcul ar in detail and

warn s t h at Waterdrop cannot e n s u re t h at i t will be abl e to

compl y wi t h n ew regul at i o n s in a t i me l y manner .   As to potenti a l

regul atory invest i gat i o n s into Waterdrop , t h e Regi strati o n

Statemen t a l so d i scl oses t h at Waterdrop h as bee n a nd e xpects to

be s ub j ect to regul atory act i o n, whi c h could res ul t in

pe n a l ties .   Th ese d i scl os u res n otified investors o f t h e r i sks

                                          25

                                                                            SA-025
          Case
       Case     23-301, DocumentDocument
            1:21-cv-07683-DLC    54, 06/07/2023, 3526377,
                                          58 Filed        Page82
                                                   02/03/23  Pageof2687of 30



stemmi ng f rom t h e regul atory envi ronment .         Th e FAC f a ils to

p l ead t h at t h ese stateme n ts are f a l se , mi s l eading , or t h at more

needed to be sai d to adequ ate l y warn of t h e regul atory

c h a lle nges to Waterdrop ' s b u s iness .

       Th e Lead Pl a int iff argu es t h at i t was a materi a l omi ss i on

f or t h e Regi strati o n Statemen t to f a il to d i sclose t h at

Waterdrop was under invest i gat i o n p u rs u a n t to t h e December

Ci rcul ar , whi c h ul t i mate l y l ed to Waterdrop being f i ned in

November 2021 .        Thi s argume n t fa ils .   Fi rst , t h e Regi strati on

Statemen t explic i t l y warn ed i nvestors t h at Waterdrop h ad been

under i nvest i gat i o n by CB I RC a nd l i k e l y would be again.

Furth ermore , "compani es do n ot h ave a d u ty to d i scl ose

unc h arged , unadjud i cated wrongdoing . "        Plumber   &   Steamfi tters

Local 773 Pe n s i o n Fund v . Dan s ke Bank A/S , 11 F . 4th 90 , 98 (2d

Ci r . 202 1 )   (ci tat i o n omi tted) .

       In fu rth er s upport o f t hi s argume n t , t h e Lead Pl a int iff

re lies o n Meyer v . J inkosol ar Ho l dings Co . , Ltd . , 761 F . 3d 245

(2d Ci r . 20 1 4) .    In Me y er , t h e Second Ci rcui t h e l d t h at, on a

mot i o n to d i smi ss , a reason abl e investor may fi nd a company's

assert i o n in a regi strati o n stateme n t t h at i t was taking steps

to compl y wi t h e nv i ronme n t regul at i o n s mi s l eading wh e n, l ess

t h a n a mon t h l ater , t h e compan y s ubmi tted a report to t h e

regul atory body detailing i ts e xisting probl ems a nd de fi c i enci es

in compl y ing with t h e re l evan t regul ation s .      76 1 F . 3d at 25 1.

                                             26

                                                                            SA-026
           Case
        Case     23-301, DocumentDocument
             1:21-cv-07683-DLC    54, 06/07/2023, 3526377,
                                           58 Filed        Page83
                                                    02/03/23  Pageof2787of 30



Meyer i s d i sti ngui s h abl e .     The FAC f a ils to p l ead t h at Waterdrop

k n ew in May 2021 t h at i ts advert i s i ng practi ces would res ul t i n

i t be i ng fined i n November 2021 , s i x month s after i ts I PO .

III . Termi nat i on o f Mutual Ai d

       In a fin a l category o f c l a i ms , t h e FAC a lleges that the

Regi strati on Statement f a i led to discl ose t h at t h e c l os u re o f

Mutual Ai d was due to t h e Chi nese regul atory regi me .             Th e FAC

a l so al l eges t h at t h e Regi strati on Statement i ncl uded mi s l eadi ng

statements about t h e financ i a l i mpact on Waterdrop of

termi nat i ng Mutual Ai d .         Ne i ther a llegati on succeeds i n stati ng

a c l a i m.

       A.      Mot i vat i on Behi nd Termi nat i on of Mutual Ai d

       Th e FAC a lleges t h at t h e Regi strati on Statement fa iled to

d i scl ose t h at Waterdrop termi nated Mu tual Ai d because o f the

i ncreas i ngl y stri ct regul atory envi ronment i n Chi na .          I t c i tes a

September 15 , 2021 articl e in t h e publ ication Seeking Al p h a that

connects t h e h e i g h tened regul atory scrutiny to Waterdrop ' s

deci s i on to end Mutual Ai d ("September 2021 Art i c l e") .             The FAC

a l so asserts that the Regi strati on Statement ' s descri pti ons o f

Waterdrop ' s reasons f or d i sconti nuing Mutual Aid were materi a ll y

mis l eadi ng i n lig h t of t hi s omiss i on .     I t poi nts to t h e

Regi strati on Statement li nki ng the c l osure o f Mutual Aid to

Waterdrop want i ng to " f ocus on [i ts ] core bus i nesses , " the




                                            27

                                                                              SA-027
           Case
        Case     23-301, DocumentDocument
             1:21-cv-07683-DLC    54, 06/07/2023, 3526377,
                                           58 Filed        Page84
                                                    02/03/23  Pageof2887of 30



" l atest market deve l opment ," and "recent i ndustry envi ronment

c h anges . "

       Thi s c l a i m f ai l s .    To begin with , t h e Registrat i on

Statement descri bes t h e regul atory environment i n Chi na i n

con s i derabl e detail a nd warns i nvestors o f the r i sks to

Waterdrop ' s bus i ness stemming f rom t h at envi ronment .              It

expl a i ns t h at t h e onli ne i nsurance i ndustry i s hig hl y regul ated

i n Chi na and describes t h e enh anced supervisi on of t h e CB I RC .

I t adds t h at i t a l ready h ad been subj ect to regul atory

i nvest i gat i ons and may be subj ect to penal t i es .

       Of course , i n f ormati on about t h e government regul at i ons was

public l y availabl e to investors .               Th e FAC fa ils to p l ead how any

omi ss i on f rom t h e Regi strati on Statement o f a f urth er

expl a n at i o n o f Waterdrop ' s reasons f or c l os i ng Mu tual Ai d

s i gnificantl y a l tered t h e mi x o f i n f ormati on availabl e to a

reasonabl e i nvestor .

       B.       Fi nancial    I mpact of Termination of Mutual Aid

       Th e FAC a l so a lleges t h at the Regi strati on Statement

i ncl uded mis l eadi ng statements about the fi nanci a l i mpact o f

Mutual Ai d ' s c l osure .         Th e Lead Pl a inti ff a lleges t h at t h e

Registrat i on Statement ' s descript i on of t h e consequences from

t h e termi nat i on o f Mutual Ai d shoul d h ave incl uded a discuss i on

o f c u stomer l eads and data .           The FAC a lleges that Waterdrop had




                                              28

                                                                                   SA-028
          Case
       Case     23-301, DocumentDocument
            1:21-cv-07683-DLC    54, 06/07/2023, 3526377,
                                          58 Filed        Page85
                                                   02/03/23  Pageof2987of 30



to increase i ts spending on thi rd- party market ing because o f

t hi s l oss .

       Thi s c l a im f ai l s .   I t i s interwoven with several of the

c l a ims that have a l ready been d i smissed .          I t i s noteworthy that

t he Regi strati o n Statemen t warn s specificall y that "We f ace

reputat i onal, monetary , and legal r i sk in re l at i on to our

deci s i on to d i scontinue" Mutual Ai d .         I t a l so noted t h at the

Mutual h ad "historically served as a scenari o for educating and

familiarizing millions of users wi th the importance of insurance

coverage " a nd t h at Mutual Ai d had "directed tra ffi c to [ the ]

insurance marketpl ace . "         Furthermore , as previ ous l y descri bed,

t he Regi strati on Statement descri bes i ts increases in thi rd-

party marketing expenses.             Read as a wh o l e , t h e Regi strati on

Statemen t adequate l y warns o f the impact that ending Mutual Ai d

h ad on t he business o f Waterdrop .

       In sum, t he FAC h as f a iled to p lead t h at t he de f endants

viol ated§ 11 of t h e Securities Act .             Because there was no§ 11

v i o l at i on , the FAC ' s § 15 c l a ims a l so fail .

I V.   Request f or Leave to Amend

       The Lead Pl a int iff requests t h at , if t he de f endants ' mot i on

to d i smi ss i s granted, h e be given l eave to amend t h e FAC .               In

general, l eave to amend s h oul d be " f ree l y g i ve [n] when justi ce

so requi res . "      Fed . R . Ci v . P . l S(a) (2) .   Leave to amend may be

de ni ed, h owever , " f or good reason , including futility , bad

                                            29

                                                                            SA-029
             Case
          Case     23-301, DocumentDocument
               1:21-cv-07683-DLC    54, 06/07/2023, 3526377,
                                             58 Filed        Page86
                                                      02/03/23  Pageof3087of 30




fait h, und ue delay , o r u ndue prej udice t o the opposing p arty . "

Eastman Kodak Co . v . Henry Bath LLC , 93 6 F.3d 86 , 98 (2d Cir .

20 1 9}      (citat ion omi tted ) .   Addition ally , a p l aintiff " n eed not

be given lea ve t o ame nd if it f ails to speci fy                   how

amendmen t would cure the ple ading defi c iencies in i t s

complain t."         TechnoMa rine SA v . Giftpor ts, I nc., 758 F . 3d 4 93 ,

5 05 ( 2d Cir. 2 0 14).

          The Lead Pl aintiff ' s reques t for leave t o amend i s den ied.

The Lead Plainti ff h a s not identif ied h o w f urther amendme nt

woul d a ddr ess t he d eficienc ies in t he FAC .         The stateme nts

i ncluded in the FAC f ail to state a claim under t he Securit i es

Act , and as s uch , ame ndment woul d be fu tile .

                                       Conclus ion

          The de fendant s' Apr il 22 moti on to d i smiss is granted .             The

cla i ms agai n st the rema i ning defendan t s will al so be d ismiss ed .

There is no b asi s to find t hat t h e claims against the remaini ng

d efenda n t s , who have yet t o be served, are d i stinguis habl e and

would survive.           The Clerk of Cour t shall clos e the c ase .

Da t e d :        New York, New York
                  February 3 , 2023




                                              Un ited                       Judge



                                                                                          I
                                                                                          i
                                                                                          !
                                                                                          r:
                                             30
                                                                                          I
                                                                                          I
                                                                             SA-030
                                                                                          j
             Case
           Case    23-301, Document Document
                1:21-cv-07683-DLC   54, 06/07/2023, 3526377,
                                              59 Filed       Page87
                                                       02/03/23     of 187of 1
                                                                 Page




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
SIDNEY SANDOZ, individually and on behalf
of all others similarly situated,

                                   Plaintiff,
                 -against-                                                  21 CIVIL 7683 (DLC)

                                                                              JUDGMENT
WATERDROP INC. et al.,

                                    Defendants.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated February 3, 2023, the defendants' April 22 motion

to dismiss is granted. The claims against the remaining defendants will also be dismissed. There

is no basis to find that the claims against the remaining defendants, who have yet to be served,

are distinguishable and would survive; accordingly, the case is closed.

Dated: New York, New York

          February 3, 2023


                                                                          RUBY J. KRAJICK

                                                                      _________________________
                                                                            Clerk of Court

                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk




                                                                                            SA-031
